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                                                                         (Dalvik Presentation, Slide 13)

                                    Corresponding Dalvik Video at 6:39:
                                    “And then towards the bottom there are a series of class definitions. So a dex file contains
                                    multiple classes….”

                                    See, e.g., dalvik\vm\analysis\DexPrepare.c (in Gingerbread)
                                    See, e.g., dalvik\vm\analysis\DexOptimize.c. (in earlier versions)

                                    /*
                                     * Return the fd of an open file in the DEX file cache area. If the cache
                                    * file doesn’t exist or is out of date, this will remove the old entry,
                                     * create a new one (writing only the file header), and return with the
                                    * ”new file” flag set.
                                     *
                                    …
                                     * On success, the file descriptor will be positioned just past the ”opt”
                                     * file header, and will be locked with flock. ”*pCachedName” will point
                                     * to newly-allocated storage.
                                     */
                                    int dvmOpenCachedDexFile(const char* fileName, const char* cacheFileName,u4 modWhen, u4 crc, bool isBo
                                    otstrap, bool* pNewFile, bool createIfMissing)
                                    {
                                    int fd, cc;

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                                       struct stat fdStat, fileStat;
                                       bool readOnly = false;
                                       *pNewFile = false;
                                       retry:
                                       /*
                                       * Try to open the cache file. If we’ve been asked to,
                                       * create it if it doesn’t exist.
                                       */
                                       fd = createIfMissing ? open(cacheFileName, O_CREAT|O_RDWR, 0644) : -1;
                                       if (fd < 0) {
                                       fd = open(cacheFileName, O_RDONLY, 0);
                                           if (fd < 0) {
                                               if (createIfMissing) {
                                                   LOGE(“Can’t open dex cache ’%s’: %s\n”,
                                                   cacheFileName, strerror(errno));
                                                   }
                                               return fd;
                                               }
                                          readOnly = true;
                                          }
                                       …
                                       }
 6. A system according to claim 1,     Android includes a process cloning mechanism to instantiate a child runtime system process
 further comprising: a process         by copying the memory space of a master runtime system process into a separate memory
 cloning mechanism to instantiate      space for the child runtime system process.
 the child runtime system process by
 copying the memory space of the       See
 master runtime system process into
 a separate memory space for the
 child runtime system process.




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                                                                   (Android Presentation, Slide 82)

                                    Corresponding Android Video at 44:30:
                                    “The init process starts up a really neat process called zygote….It uses copy-on-write to
                                    maximize re-use and minimize footprint so that data structures are shared and it won’t do a
                                    full copy unless some of those data structures are to be modified.”

                                    See also




                                                                       (Dalvik Presentation, Slide 25)

                                    Corresponding Dalvik Video at 13:48:

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                                    “What we do with the zygote, as its name implies,…when it gets a command to start up a
                                    new application, it does a normal Unix fork and then that child process becomes that target
                                    application. And the result of that is this.”




                                                                       (Dalvik Presentation, Slide 26)

                                    Corresponding Dalvik Video at 14:40:
                                    “So the zygote, again, has made, has made this heap of objects, it’s made this live dex
                                    structure and then each application that then starts up, instead of having its own memory for
                                    those things, it just shares it with the zygote and also with any other app that’s also on the
                                    system.”


                                    See also http://developer.android.com/guide/basics/what-is-android.html.
                                    “Android Runtime
                                    …The Dalvik VM relies on the Linux kernel for underlying functionality such as threading
                                    and low-level memory management.

                                    Linux Kernel
                                    Android relies on Linux version 2.6 for core system services such as security, memory
                                    management, process management, network stack, and driver model. The kernel also acts as

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                                    an abstraction layer between the hardware and the rest of the software stack.”


                                    See also, Lowe, Robert, Linux Kernel Process Management, April 15, 2005. Sample Chapter
                                    is provided courtesy of Sams,
                                    http://www.informit.com/articles/article.aspx?p=370047&seqNum=2&rll=1.
                                    “Copy-on-Write
                                    …In Linux, fork() is implemented through the use of copy-on-write pages. Copy-on-write
                                    (or COW) is a technique to delay or altogether prevent copying of the data. Rather than
                                    duplicate the process address space, the parent and the child can share a single copy. The
                                    data, however, is marked in such a way that if it is written to, a duplicate is made and each
                                    process receives a unique copy.”


                                    Example source code files in
                                    libcore\dalvik\src\main\java\dalvik\system\Zygote.java,
                                    dalvik\vm\native\dalvik_system_Zygote.c,
                                    linux-2.6\kernel\fork.c,
                                    external\kernel-headers\original\linux\sched.h.


                                    See, e.g., libcore\dalvik\src\main\java\dalvik\system\Zygote.java.

                                      /**
                                       * Forks a new Zygote instance, but does not leave the zygote mode.
                                       * The current VM must have been started with the -Xzygote flag. The
                                       * new child is expected to eventually call forkAndSpecialize()
                                       *
                                       * @return 0 if this is the child, pid of the child
                                       * if this is the parent, or -1 on error
                                       */
                                      native public static int fork();

                                      /**


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                                       * Forks a new VM instance. The current VM must have been started
                                       * with the -Xzygote flag. <b>NOTE: new instance keeps all
                                       * root capabilities. The new process is expected to call capset()</b>.
                                       *
                                       * @param uid the UNIX uid that the new process should setuid() to after
                                       * fork()ing and and before spawning any threads.
                                       * @param gid the UNIX gid that the new process should setgid() to after
                                       * fork()ing and and before spawning any threads.
                                       * @param gids null-ok; a list of UNIX gids that the new process should
                                       * setgroups() to after fork and before spawning any threads.
                                       * @param debugFlags bit flags that enable debugging features.
                                       * @param rlimits null-ok an array of rlimit tuples, with the second
                                       * dimension having a length of 3 and representing
                                       * (resource, rlim_cur, rlim_max). These are set via the posix
                                       * setrlimit(2) call.
                                       *
                                       * @return 0 if this is the child, pid of the child
                                       * if this is the parent, or -1 on error.
                                       */
                                      native public static int forkAndSpecialize(int uid, int gid, int[] gids,
                                             int debugFlags, int[][] rlimits);


                                    See, e.g., dalvik\vm\native\dalvik_system_Zygote.c.
                                    /* native public static int forkAndSpecialize(int uid, int gid,
                                    * int[] gids, int debugFlags);
                                    */
                                     static void Dalvik_dalvik_system_Zygote_forkAndSpecialize(const u4* args,
                                    JValue* pResult)
                                    {
                                        pid_t pid;
                                       pid = forkAndSpecializeCommon(args);
                                       RETURN_INT(pid);
                                    }
                                    …
                                    /*
                                     * Utility routine to fork zygote and specialize the child process.
                                     */

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                                    static pid_t forkAndSpecializeCommon(const u4* args, bool isSystemServer)
                                    {
                                       pid_t pid;

                                      uid_t uid = (uid_t) args[0];
                                      gid_t gid = (gid_t) args[1];
                                      ArrayObject* gids = (ArrayObject *)args[2];
                                      u4 debugFlags = args[3];
                                      ArrayObject *rlimits = (ArrayObject *)args[4];
                                      int64_t permittedCapabilities, effectiveCapabilities;

                                      if (isSystemServer) {
                                          /*
                                           * Don't use GET_ARG_LONG here for now. gcc is generating code
                                           * that uses register d8 as a temporary, and that's coming out
                                           * scrambled in the child process. b/3138621
                                           */
                                          //permittedCapabilities = GET_ARG_LONG(args, 5);
                                          //effectiveCapabilities = GET_ARG_LONG(args, 7);
                                          permittedCapabilities = args[5] | (int64_t) args[6] << 32;
                                          effectiveCapabilities = args[7] | (int64_t) args[8] << 32;
                                      } else {
                                          permittedCapabilities = effectiveCapabilities = 0;
                                      }

                                      if (!gDvm.zygote) {
                                          dvmThrowException("Ljava/lang/IllegalStateException;",
                                            "VM instance not started with -Xzygote");

                                          return -1;
                                      }

                                      if (!dvmGcPreZygoteFork()) {
                                          LOGE("pre-fork heap failed\n");
                                          dvmAbort();
                                      }

                                      setSignalHandler();


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                                      dvmDumpLoaderStats("zygote");
                                      pid = fork();

                                       if (pid == 0) {
                                           int err;
                                           /* The child process */
                                    ….
                                        } else if (pid > 0) {
                                      /* the parent process */
                                       }
                                    return pid;
                                    }


                                    See, e.g., linux-2.6\kernel\fork.c.

                                    /*
                                     * Ok, this is the main fork-routine.
                                     *
                                     * It copies the process, and if successful kick-starts
                                     * it and waits for it to finish using the VM if required.
                                     */
                                    long do_fork(unsigned long clone_flags,
                                               unsigned long stack_start,
                                               struct pt_regs *regs,
                                               unsigned long stack_size,
                                               int __user *parent_tidptr,
                                               int __user *child_tidptr)
                                    {
                                          struct task_struct *p;
                                          int trace = 0;
                                          long nr;
                                    …
                                          p = copy_process(clone_flags, stack_start, regs, stack_size,
                                                      wake_up_new_task(p, clone_flags);
                                    …
                                          tracehook_report_clone_complete(trace, regs,
                                                             clone_flags, nr, p);


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                                       …
                                             return nr;
                                       }
 7. A system according to claim 1,     Android includes a master runtime system process that is caused to sleep relative to receiving
 wherein the master runtime system     a process request.
 process is caused to sleep relative
 to receiving the process request.     See




                                                                          (Dalvik Presentation, Slide 25)

                                       Corresponding Dalvik Video at 13:48:
                                       “What we do with the zygote, as its name implies, …it sort of sits on a socket and it waits for
                                       commands….”


                                       See also




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             The ’720 Patent                                                     Infringed By




                                                                      (Android Presentation, Slide 82)

                                    Corresponding Android Video at 44:25:
                                    “The init process starts up a really neat process called zygote….And so zygote is a nascent
                                    VM process that initializes a Dalvik VM and preloads a lot of its libraries and it forks on
                                    request to create new VM instances for managed processes….”


                                    See, e.g., base\core\java\com\android\internal\os\ZygoteConnection.java.

                                      /**
                                      * Constructs instance from connected socket.
                                      *
                                      * @param socket non-null; connected socket
                                      * @throws IOException
                                      */
                                      ZygoteConnection(LocalSocket socket) throws IOException {
                                        mSocket = socket;
                                        mSocketOutStream
                                              = new DataOutputStream(socket.getOutputStream());
                                        mSocketReader = new BufferedReader(
                                              new InputStreamReader(socket.getInputStream()), 256);
                                        mSocket.setSoTimeout(CONNECTION_TIMEOUT_MILLIS);
                                        try {
                                           peer = mSocket.getPeerCredentials();


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                                          } catch (IOException ex) {
                                             Log.e(TAG, “Cannot read peer credentials”, ex);
                                             throw ex;
                                          }
                                      }

                                      /**
                                       * Returns the file descriptor of the associated socket.
                                       *
                                       * @return null-ok; file descriptor
                                       */
                                      FileDescriptor getFileDesciptor() {
                                         return mSocket.getFileDescriptor();
                                      }

                                    /**
                                       * Reads start commands from an open command socket.
                                       * Start commands are presently a pair of newline-delimited lines
                                       * indicating a) class to invoke main() on b) nice name to set argv[0] to.
                                       * Continues to read commands and forkAndSpecialize children until
                                       * the socket is closed. This method is used in ZYGOTE_FORK_MODE
                                       *
                                       * @throws ZygoteInit.MethodAndArgsCaller trampoline to invoke main()
                                       * method in child process
                                       */
                                      void run() throws ZygoteInit.MethodAndArgsCaller {
                                         int loopCount = ZygoteInit.GC_LOOP_COUNT;
                                         while (true) {
                                           …
                                            if (runOnce()) {
                                                break;
                                            }
                                         }
                                      }

                                    /**
                                       * Reads one start command from the command socket. If successful,
                                       * a child is forked and a {@link ZygoteInit.MethodAndArgsCaller}
                                       * exception is thrown in that child while in the parent process,

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                                         * the method returns normally. On failure, the child is not
                                         * spawned and messages are printed to the log and stderr. Returns
                                         * a boolean status value indicating whether an end-of-file on the command
                                         * socket has been encountered.
                                         *
                                         * @return false if command socket should continue to be read from, or
                                         * true if an end-of-file has been encountered.
                                         * @throws ZygoteInit.MethodAndArgsCaller trampoline to invoke main()
                                         * method in child process
                                         */
                                        boolean runOnce() throws ZygoteInit.MethodAndArgsCaller {
                                           String args[];
                                           Arguments parsedArgs = null;
                                           FileDescriptor[] descriptors;
                                           try {
                                               args = readArgumentList();
                                               descriptors = mSocket.getAncillaryFileDescriptors();
                                           } catch (IOException ex) {
                                               Log.w(TAG, “IOException on command socket “ + ex.getMessage());
                                               closeSocket();
                                               return true;
                                           }
                                           if (args == null) {
                                               // EOF reached.
                                               closeSocket();
                                               return true;
                                           }
                                    …
                                          int pid;
                                    …
                                             pid = Zygote.forkAndSpecialize(parsedArgs.uid, parsedArgs.gid,
                                                  parsedArgs.gids, parsedArgs.debugFlags, rlimits);
                                          } catch (IllegalArgumentException ex) {
                                             logAndPrintError (newStderr, “Invalid zygote arguments”, ex);
                                             pid = -1;
                                          } catch (ZygoteSecurityException ex) {
                                             logAndPrintError(newStderr,
                                                  “Zygote security policy prevents request: “, ex);
                                             pid = -1;

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                                        }
                                        if (pid == 0) {
                                            // in child
                                            handleChildProc(parsedArgs, descriptors, newStderr);
                                            // should never happen
                                            return true;
                                        } else { /* pid != 0 */
                                            // in parent...pid of < 0 means failure
                                            return handleParentProc(pid, descriptors, parsedArgs);
                                        }
                                      }
                                    …
                                    /**
                                       * Reads an argument list from the command socket/
                                       * @return Argument list or null if EOF is reached
                                       * @throws IOException passed straight through
                                       */
                                      private String[] readArgumentList()
                                            throws IOException {
                                         /**
                                          * See android.os.Process.zygoteSendArgsAndGetPid()
                                          * Presently the wire format to the zygote process is:
                                          * a) a count of arguments (argc, in essence)
                                          * b) a number of newline-separated argument strings equal to count
                                          *
                                          * After the zygote process reads these it will write the pid of
                                          * the child or -1 on failure.
                                          */
                                         int argc;
                                         try {
                                            String s = mSocketReader.readLine();
                                            if (s == null) {
                                                // EOF reached.
                                                return null;
                                            }
                                            argc = Integer.parseInt(s);
                                         } catch (NumberFormatException ex) {
                                            Log.e(TAG, “invalid Zygote wire format: non-int at argc”);
                                            throw new IOException(“invalid wire format”);

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                                               }
                                       …
                                               String[] result = new String[argc];
                                               for (int i = 0; i < argc; i++) {
                                                  result[i] = mSocketReader.readLine();
                                                  if (result[i] == null) {
                                                      // We got an unexpected EOF.
                                                      throw new IOException(“truncated request”);
                                                  }
                                               }
                                               return result;
                                           }
 8. A system according to claim 1,     Android includes object-oriented program code that is written in the Java programming
 wherein the object-oriented           language.
 program code is written in the Java
 programming language.                 See Google I/O 2010 Video, entitled “A JIT Compiler for Android’s Dalvik VM,” presented
                                       by Ben Cheng and Bill Buzbee (Google’s Android Team), available at
                                       http://developer.android.com/videos/index.html#v=Ls0tM-c4Vfo (“JIT Video”) at time 1:58.
                                       “Now, if you are going to write a program for Android, you are most likely going to write it
                                       in the Java programming language and then push the source code through the SDK. And
                                       what pops out at the end is an executable targeted to the Dalvik virtual machine.”


                                       See also http://developer.android.com/guide/basics/what-is-android.html.
                                       “What is Android?
                                       Android is a software stack for mobile devices that includes an operating system,
                                       middleware and key applications. The Android SDK provides the tools and APIs necessary
                                       to begin developing applications on the Android platform using the Java programming
                                       language.”
 10.pre. A method for dynamic          Android and the Android SDK include methods for performing the steps described in the
 preloading of classes through         claim. See claim 1.pre.
 memory space cloning of a master
 runtime system process,
 comprising:

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 10.a. executing a master runtime       See claim 1.c.
 system process;
 10.b. obtaining a representation of    See claim 1.c.
 at least one class from a source
 definition provided as object-
 oriented program code;
 10.c. interpreting and instantiating   See claim 1.d.
 the representation as a class
 definition in a memory space of the
 master runtime system process; and
 10.d. cloning the memory space as      See claim 1.e.
 a child runtime system process
 responsive to a process request and
 executing the child runtime system
 process;
 10.e. wherein cloning the memory       See claim 1.f.
 space as a child runtime system
 process involves instantiating the
 child runtime system process by
 copying references to the memory
 space of the master runtime system
 process into a separate memory
 space for the child runtime system
 process; and
 10.f. wherein copying references to    See claim 1.f.
 the memory space of the master
 runtime system process defers
 copying of the memory space of the
 master runtime system process until
 the child runtime system process
 needs to modify the referenced
 memory space of the master

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 runtime system process.
 11. A method according to claim          See claim 2.
 10, further comprising: determining
 whether the instantiated class
 definition is available in a local
 cache associated with the master
 runtime system process.
 12. A method according to claim          See claim 3.
 11, further comprising: locating the
 source definition if the instantiated
 class definition is unavailable in the
 local cache.
 13. A method according to claim          See claim 4.
 10, further comprising: resolving
 the class definition.
 14. A method according to claim          See claim 5.
 10, further comprising: maintaining
 the source definition as a class file
 on at least one of a local and
 remote file system.
 15. A method according to claim          See claim 6.
 10, further comprising:
 instantiating the child runtime
 system process by copying the
 memory space of the master
 runtime system process into a
 separate memory space for the
 child runtime system process.
 16. A method according to claim          See claim 7.
 10, further comprising: causing the
 master runtime system process to
 sleep relative to receiving the

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 process request.
 17. A method according to claim        See claim 8.
 10, wherein the object-oriented
 program code is written in the Java
 programming language.
 19. A computer-readable storage        The Accused Instrumentalities include storage devices that store, distribute, or run code for
 medium holding code for                Android or the Android SDK. They encompass a computer-readable storage medium
 performing the method according        holding code for performing the method according to claim 10. See claim 10.
 to claim 10.
 20.pre. An apparatus for dynamic       The Accused Instrumentalities include devices that run Android or the Android SDK. An
 preloading of classes through          Android-based device is an apparatus. See claim 1.pre.
 memory space cloning of a master
 runtime system process,
 comprising:
 20.a. A processor;                     See claim 1.a.
 20.b. A memory                         See claim 1.b.
 20.c. means for executing a master     See claim 1.c.
 runtime system process;
                                        See also, e.g., ’720 patent, 8:14-17, 38-44, FIGs. 2, 6, 7:
                                        “The method 100 [FIG. 6] is described as a sequence of process operations or steps, which
                                        can be executed, for instance, by the runtime environment 31 of FIG. 2 or other
                                        components.”

                                        “FIG. 7 is a flow diagram showing the routine 120 for loading a master JVM process 33 for
                                        use in the method 100 of FIG. 6. One purpose of the routine is to invoke the master JVM
                                        process 33 and to preload classes into the prewarmed state 41 for inheritance by cloned JVM
                                        processes 34. Initially, the master JVM process 33 begins execution at device boot time
                                        (block 121).”
 20.d. means for obtaining a            See claim 1.c.
 representation of at least one class
 from a source definition provided      See also, e.g., ’720 patent, 6:46-54, FIGs. 2, 10:
 as object-oriented program code;       “A set of core Java foundation classes is specified in a bootstrap class loader 39 and

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                                        application classes in a system application class loader 40. Class loading requires identifying
                                        a binary form of a class type as identified by specific name, as further described below with
                                        reference to FIG. 10. Depending upon whether the class was previously loaded or
                                        referenced, class loading can include retrieving a binary representation from source and
                                        constructing a class object to represent the class in memory.”
 20.e. means for interpreting and       See claim 1.d.
 means for instantiating the
 representation as a class definition
                                    See also, e.g., ’720 patent, 6:61-67, FIG. 2:
 in a memory space of the master    “The master JVM process 33 invokes the bootstrap class loader 39 and system application
 runtime system process; and        class loader 40 for every class likely to be requested by the applications. Thus, the
                                    prewarmed state 41 includes the class loading for applications prior to actual execution and
                                    the initialized and loaded classes are inherited by each cloned JVM process 34 as the
                                    inherited prewarmed state 42.”
 20.f. means for cloning the memory See claim 1.e.
 space as a child runtime system
 process responsive to a process    See also, e.g., ’720 patent, 5:33-37, FIG. 2:
 request and means for executing    “The runtime environment 31 executes an application framework that spawns multiple
 the child runtime system process;  independent and isolated user application process instances by preferably cloning the
                                    memory space of a master runtime system process.”
 20.g. wherein the means for        See claim 1.f.
 cloning the memory space is
 configured to clone the memory     See also, e.g., ’720 patent, 6:12-19, FIGs. 2, 5A, 5B:
 space of a child runtime system    “When implemented with copy-on-write semantics, the process cloning creates a logical
 process using a copy-on-write      copy of only the references to the master JVM process context. Segments of the referenced
 process cloning mechanism that     master JVM process context are lazily copied only upon an attempt by the cloned JVM
 instantiates the child runtime     process to modify the referenced context. Therefore as long as the cloned JVM process does
 system process by copying          not write into a memory segment, the segment remains shared between parent and child
 references to the memory space of  processes.”
 the master runtime system process
 into a separate memory space for
 the child runtime system process
 and that defers copying of the

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 memory space of the master
 runtime system process until the
 child runtime system process needs
 to modify the referenced memory
 space of the master runtime system
 process.
 21. A system according to claim 1,   Android includes a resource controller to set operating system level resource management
 further comprising: a resource       parameters on the child runtime system process.
 controller to set operating system
 level resource management            See, e.g., libcore\dalvik\src\main\java\dalvik\system\Zygote.java.
 parameters on the child runtime
 system process.                           /**
                                         * Forks a new VM instance. The current VM must have been started
                                         * with the -Xzygote flag. <b>NOTE: new instance keeps all
                                         * root capabilities. The new process is expected to call capset()</b>.
                                         *
                                         * @param uid the UNIX uid that the new process should setuid() to after
                                         * fork()ing and and before spawning any threads.
                                         * @param gid the UNIX gid that the new process should setgid() to after
                                         * fork()ing and and before spawning any threads.
                                         * @param gids null-ok; a list of UNIX gids that the new process should
                                         * setgroups() to after fork and before spawning any threads.
                                         * @param debugFlags bit flags that enable debugging features.
                                         * @param rlimits null-ok an array of rlimit tuples, with the second
                                         * dimension having a length of 3 and representing
                                         * (resource, rlim_cur, rlim_max). These are set via the posix
                                         * setrlimit(2) call.
                                         *
                                         * @return 0 if this is the child, pid of the child
                                         * if this is the parent, or -1 on error.
                                         */
                                        native public static int forkAndSpecialize(int uid, int gid, int[] gids,
                                               int debugFlags, int[][] rlimits);
 22. A method according to claim      Android includes methods for performing the step described in this claim. See claim 21.
 10, further comprising: setting
 operating system level resource

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           The ’720 Patent                                      Infringed By
 management parameters on the
 child runtime system process.




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                  Exhibit F




                                 1
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15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                     SAN FRANCISCO DIVISION
18

19    ORACLE AMERICA, INC.                       Case No. 3:10-cv-03561-WHA

20                  Plaintiff,                   Honorable Judge William Alsup
21           v.                                  DEFENDANT GOOGLE INC.’S
22                                               FOURTH SUPPLEMENTAL RESPONSES
      GOOGLE INC.                                TO PLAINTIFF’S INTERROGATORIES,
23                                               SET ONE, NO. 3
                    Defendant.
24

25

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 1           Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant Google Inc.
 2    (“Google”), through its attorneys, provides its Fourth Supplemental Responses to Plaintiff’s
 3    Interrogatories to Defendant Google Inc., Set One, No. 3, which interrogatories were served by
 4    plaintiff Oracle America, Inc. (“Plaintiff” or “Oracle”) on December 2, 2010, as follows.
 5                           GENERAL OBJECTIONS (SUPPLEMENTED)
 6           1.      Google responds generally that discovery has not yet completed and its
 7    investigations of the facts relevant to this litigation are ongoing. Google’s responses herein are
 8    given without prejudice to Google’s right to amend or supplement in accordance with Rule 26(e)
 9    of the Federal Rules of Civil Procedure, the Civil Local Rules, the Court’s Supplemental Order
10    to Order Setting Initial Case Management Conference, any applicable Standing Orders, and the
11    Case Management Order entered by the Court.
12           2.      Google generally objects to Plaintiff’s Interrogatories, and the “Definitions and
13    Instructions” related thereto, to the extent they are inconsistent with or impose obligations
14 beyond those required by the Federal Rules of Civil Procedure, the Civil Local Rules, the Patent

15 Local Rules, the Court’s Supplemental Order to Order Setting Initial Case Management

16 Conference, any applicable Standing Orders, and the Case Management Order entered by the

17 Court. In responding to each Interrogatory, Google will respond as required under Rule 33 of the

18 Federal Rules of Civil Procedure.

19           3.      Google objects to Oracle’s definition of “Java Platform” on the grounds that the
20 definition is overbroad and misleading to the extent it purports to include “the Java programming

21 language,” as to which Oracle does not own proprietary rights. When used in Google’s

22 responses, the phrase “Java Platform” shall not include “the Java programming language” and,

23 without acknowledging or agreeing that Oracle owns any proprietary rights in any elements

24 thereof, shall have the meaning ascribed to that phrase in paragraph 9 of Oracle’s Amended

25 Complaint, namely “a bundle of related programs, specifications, reference implementations, and

26 developer tools and resources that allow a user to deploy applications written in the Java

27 programming language on servers, desktops, mobile devices, and other devices,” including but

28 not limited to the Java compiler, the Java Virtual Machine, the Java Development Kit, the Java

                                                       1
            DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    Runtime Environment, the Just-In-Time compiler, Java class libraries, Java application
 2    programming interfaces, and Java specifications and reference implementations.
 3           4.      Google generally objects to Plaintiff’s Interrogatories to the extent (a) they are not
 4    reasonably calculated to lead to the discovery of admissible evidence that is relevant to any claim
 5    of defense of any party; (b) they are unreasonably cumulative or duplicative; (c) they seek
 6    information that is obtainable from some other source that is more convenient, less burdensome,
 7    or less expensive; or (d) the burden or expense of the proposed discovery outweighs any likely
 8    benefit.
 9           5.      Google generally objects to Plaintiff’s Interrogatories to the extent they seek
10    information, documents, and/or things protected from discovery by the attorney-client privilege,
11    the work product doctrine, the common-interest privilege, and/or any other applicable privilege,
12    immunity, or protection. Nothing contained in Google’s responses is intended to be, or in any
13    way shall be deemed, a waiver of any such applicable privilege or doctrine.
14           6.      Google generally objects to Plaintiff’s Interrogatories to the extent they request
15    information, documents, and/or things not within the possession, custody, or control of Google,
16    that are as readily available to Plaintiff as to Google, or that are otherwise in the possession of
17    Plaintiff, on the grounds that such requests are unduly burdensome.
18           7.      Google objects to Interrogatory No. 3 as ambiguous due to the reference to
19    “Google’s pleading.” This literally reads as a request for Google’s bases for its defenses at the
20    time of pleading either its Answer to Oracle’s Complaint or Answer to Oracle’s Amended
21    Complaint, but does not specify the pleading to which it is referring. Oracle has clarified in
22    writing that it is seeking “Google’s factual and legal bases for its defense known to it as of
23    October 4, 2010, November 10, 2010, and now.” (January 12, 2011 Letter, Jacobs to
24    Weingaertner.) Google objects that, with this interpretation, Oracle has in effect propounded
25    three separate interrogatories for each of Interrogatories Nos. 3 through 16, for a total of 54
26    interrogatories, far exceeding the 25 permitted under Rule 33(a) of the Federal Rules. Google
27    further objects that the burden of responding to a request going to its bases for its October 4,
28

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             DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    2010 pleading, which has been replaced as the operative pleading in the case, greatly outweighs
 2    any benefit.
 3            Notwithstanding the foregoing and the fact that reading each interrogatory as two
 4    separate interrogatories still exceeds the limits of Rule 33, Google will respond with respect to
 5    when it filed its operative pleading in the case, namely Google Inc.’s Answer to Plaintiff’s
 6    Amended Complaint for Patent and Copyright Infringement and Amended Counterclaims on
 7    November 10, 2010 (Doc. #51) (“Answer and Counterclaims”), as well as its bases for its
 8    defenses generally, subject to Google’s general objection that discovery has just begun, and
 9    Google is still developing its defenses. Google reserves the right to object to any additional
10    interrogatories propounded by Oracle due to their already exceeding the limitations, and in view
11    of the Court’s admonition that “no enlargements of the limitations on discovery in the Federal
12    Rules of Civil Procedure will be allowed until after counsel have demonstrated that they will
13    behave reasonably in the discovery already authorized.”
14            8.      Google further objects to Interrogatory No. 3 due to the use of the phrase
15    “affirmative defense.” Google’s Answer and Counterclaims does not refer to the defenses as
16    “affirmative defenses,” and Google objects to the use of the term to the extent Oracle is
17    attempting to suggest any burden in relation to any of the defenses beyond what is required by
18    any applicable statute or case law.
19            9.       Google further objects to Interrogatory No. 3 for specifically seeking attorney
20    work product and attorney-client privileged information.
21            10.     Google further objects to Interrogatory No. 3 as unduly burdensome and not
22    reasonably calculated to lead to the discovery of admissible evidence. The bases for Google’s
23    pleading of its defenses is of little value at this point because its bases for maintaining its
24    allegations have changed since the filing of Google’s Answer and Counterclaims due to, for
25    example, the receipt of Oracle’s Patent Local Rule 3-1 disclosures and subsequent
26    supplementation, including Oracle’s final supplementation received on April 1, 2011. Google’s
27    bases may and likely will continue to change as discovery unfolds. Google further notes that
28    courts in this District have expressed skepticism as to the use of contention interrogatories,

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             DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    particularly early in discovery.
 2           11.     Google further objects to Interrogatory No. 3 for implying any pleading
 3    obligations on Google beyond those required by the Federal Rules of Civil Procedure, the Civil
 4    Local Rules, the Patent Local Rules and any applicable Standing Orders.
 5           12.     Google further objects to Interrogatory No. 3 for seeking the bases for pleading in
 6    response to Oracle’s Amended Complaint, which was deficient in many respects, or for seeking
 7    Google’s current positions on its defenses in view of Oracle’s Patent Local Rule 3-1 disclosures,
 8 which remain deficient. (See Oracle’s Second Supplemental Patent Local Rule 3-1 Disclosure of

 9 Asserted Claims and Infringement Contentions served on April 1, 2011 (hereinafter “Final Patent

10    L.R. 3-1 Contentions”).) Oracle’s Amended Complaint did not identify any asserted claims of
11    the Patents-in-Suit; Oracle’s Final Patent L.R. 3-1 Contentions do not identify accused products
12    with any reasonable specificity on a claim by claim basis; and both documents failed to include
13    any factual allegation for many elements as to which Oracle has the burden of proof. Any
14    response below does not constitute a waiver of any work product or attorney-client privileged
15    material relating to Google’s interpretation of the numerous ambiguities contained in Oracle’s
16    Amended Complaint and Final Patent L.R. 3-1 Contentions. Further, any response below should
17    not be considered any affirmative representation that Oracle has presented a cognizable claim,
18    met its Rule 8 obligations or met its obligations under Patent Local Rule 3-1, or that particular
19    information in the response will represent an applicable basis in the future as further clarity as to
20    Oracle’s allegations is attained. Google further objects to each patent-related Interrogatory as
21    unnecessary in view of the specific disclosures contemplated by the Patent Local Rules as well
22    as premature at least because claim terms have not been finally construed.
23           13.     Oracle supplemented its Patent Local Rule 3-1 contentions for the final time on
24    April 1, 2011. Remarkably, months after being explicitly put on notice that its contentions were
25    deficient for failing to identify actual use in accused devices, and after multiple supplementations
26    allowed by Google, Oracle has still refused to analyze an actual Accused Instrumentality of
27    “mobile devices running Android” and instead relies on unsupported conclusions based on an
28    emulator. After a meet and confer at the Court on April 6, 2011, Oracle agreed in front of the

                                                        4
             DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    Court that “Oracle has declined Google’s offer to allow Oracle to supplement its infringement
 2    contentions again. Oracle has chosen to rely on its infringement contentions as currently
 3    framed.” Google’s supplemental response to Interrogatory No. 3 is therefore expressly subject
 4    to, and without waiver of, Google’s position that Oracle’s disclosures and contentions are
 5    deficient and is made to the best of Google’s ability based on Oracle’s contentions as Google
 6    presently understands them. Google has withdrawn its offer to consent to an amendment of the
 7    contentions and reserves the right to move to strike or dismiss claims due to the deficiencies in
 8    Oracle’s Final Patent L.R. 3-1 Contentions.
 9           14.     Despite the fact that Oracle is seeking to combine multiple distinct interrogatories
10    into one in Interrogatories No. 3 through 16 and thereby exceeding its permitted number of
11    interrogatories, Google provides the following responses with respect to its bases for both
12    pleading its defenses in its Amended Answer and Counterclaims, as well as its bases for
13    maintaining them. Google explicitly preserves its work product and attorney-client privileged
14    information and other relevant objections. Google has conducted a reasonable inquiry sufficient
15    to comply with any obligations with respect to these Interrogatories, and makes no representation
16    that these responses include an exhaustive list of all facts relevant to the defenses identified in
17    these Interrogatories. Inclusion of Oracle’s allegations in a list of facts in any response herein
18    does not mean that Google agrees with the veracity of the allegation, but merely references the
19    fact that particular allegations were made. Google expressly maintains all objections made in
20    responsive pleadings. Google makes no representation that its responses below completely set
21    forth all of its bases for its defenses, as Google objects that such a response would be unduly
22    burdensome, premature, and require the unwarranted disclosures of attorney work product and
23    attorney-client privileged information.
24           15.     Google incorporates by reference these General Objections into the specific
25    objections and responses set forth below. While Google may repeat a General Objection for
26    emphasis or some other reason, the failure to specifically refer to any General Objection does not
27    constitute a waiver of any sort. Moreover, subject to the requirements of Rule 33 of the Federal
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             DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    Rules, Google reserves the right to alter or amend its objections and responses set forth herein as
 2 additional facts are ascertained and analyzed.

 3           16.     Google remains willing to meet and confer with respect to any of its objections to
 4    assist Plaintiff in clarifying or narrowing the scope of the requested discovery, and reserves the
 5    right to move for a protective order if agreement cannot be reached.
 6

 7                             SPECIFIC OBJECTIONS AND RESPONSES
 8           Google’s responses to Plaintiff’s Interrogatories are based upon Google’s current
 9    information and belief as a result of reasonable searches and inquiries. Google reserves its right
10    to amend and supplement its responses as it learns additional facts.
11

12    INTERROGATORY NO. 3:
13           Please explain the factual and legal bases for Google’s pleading of its first affirmative
14    defense: No Patent Infringement.
15    FOURTH SUPPLEMENTAL RESPONSE:
16           In addition to its General Objections, Google objects to this Interrogatory as it seeks
17 information protected by the attorney-client privilege, the work product doctrine, and/or any

18 other applicable privilege, immunity, or protection. Google further objects to this Interrogatory

19    as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
20    information. Google further objects to the request to “explain” factual bases as vague and
21    ambiguous. Google further objects to any implication in this Interrogatory that Google has any
22    burden beyond what is required by any applicable statute or case law. Google further objects
23    that Oracle has not complied with its Patent Local Rule 3-1 obligations and Oracle’s Final Patent
24    L.R. 3-1 Contentions remain unclear and incomplete. Oracle has also included new conclusory
25    statements regarding how the Android Compatibility Test Suite and emulator purportedly
26    support Oracle’s contentions. Although still plainly deficient, as discussed below, Oracle should
27    have provided this information at the outset rather than four months after it initially served its
28    contentions. Further, Oracle did not provide any of the underlying evidence and instead included

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 1    only conclusions with no facts or evidentiary support. After prompting, on April 26, 2011,
 2    Oracle provided “lists of Android routines that, in the manner described in Oracle's infringement
 3    contentions, we observed in operation.” Notably this response provides a single set of two lists
 4    without specificity as to a particular release of Android, despite Oracle being on notice that there
 5    are very significant differences in certain releases, further demonstrating Oracle’s lack of support
 6    for its contentions. Google will analyze this information and supplement accordingly.
 7           Because Oracle has now stated on the record that it considers these contentions final and
 8    refused additional supplementation, Google will endeavor to provide complete responses to the
 9    best of its ability in view of the lack of clarity provided by Oracle. This analysis will take longer
10    than the short period of time provided for this supplementation pursuant to the agreement and
11    Google will supplement again as it continues to conduct its analysis of Oracle’s Final Patent L.R.
12    3-1 Contentions.
13            In view of Oracle’s insistence for supplementation of this interrogatory response prior to
14    the Court’s claim construction ruling, Google provides this response subject to the caveat that its
15    positions may change significantly with Google’s continued analysis and development of its
16    claim construction positions through the processes contemplated by Patent Local Rules and this
17    Court’s schedule.
18           Inclusion of Oracle’s allegations in the list of facts in this response does not mean that
19    Google agrees with the veracity of the allegation, but merely references the fact that particular
20    allegations were made. Google expressly maintains all objections made in responsive pleadings.
21    Google further objects to this Interrogatory as unnecessary in view of the specific disclosures
22    contemplated by the Patent Local Rules as well as premature at least because no claim terms
23    have been finally construed and any response herein is made in view of the lack of certainty with
24    respect to the resolution of the meaning of claim terms.
25           Subject to the foregoing objections and the General Objections, without waiver or
26    limitation thereof, Google states that the following facts relevant to this defense were in its
27    possession or accessible to Google at the time it pleaded this defense in its Answer and
28    Counterclaims:

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 1       Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
 2       Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
 3       Allegations contained in presentation materials received from Oracle pursuant to Fed. R.
 4        Evid. 408.
 5       The patents-in-suit and their prosecution histories.
 6       Android source code.
 7       Android documentation, including public documentation located at
 8        http://source.android.com/; http://developer.android.com/; http://code.google.com/android/;
 9        http://sites.google.com/site/io/dalvik-vm-internals.
10           The information cited above, coupled with the positions stated in Google’s Amended
11    Answer and Counterclaims, provides Oracle with fair notice of the bases for Google’s defenses
12    at the time of the pleading in view of the fact that at the time, Oracle had not disclosed any
13 specific theory of infringement or identified a single asserted claim. Google objects to any

14 further explication of it bases at the time of the pleading as unduly burdensome.

15           General Allegations in Oracle’s Final Patent L.R. 3-1 Contentions
16           As an initial matter, Oracle continues to assert over 130 claims, making this analysis time
17    consuming and inefficient. This stands in stark contrast to its continued demands for complete
18    supplementation and purported intent to proceed efficiently. Also, as noted by the Court, Oracle
19    will have to reduce its claims to one or two claims and yet so far has not dropped a single claim.
20           With respect to Oracle’s identification of Accused Instrumentalities, Oracle does not
21    provide the requisite specificity, instead merely identifying “Android,” the “Android Platform,”
22    “mobile devices running Android,” and providing “representative examples” of devices running
23    Android. (See Section “Patent Local Rule 3-1(b) – Accused Instrumentalities”, Oracle’s Final
24    Patent L.R. 3-1 Contentions at p. 2.) This does not provide fair notice of each of the purported
25    Accused Instrumentalities and further, certain of the Exhibits, such as Exhibit F, identify, for
26    example, “computers running the Android SDK,” which contradicts the list of Accused
27    Instrumentalities on page 2 of its cover document. Oracle also identifies “Google Dev Phones,
28    the Google Nexus One, and the Google Nexus S” as purported “Google devices running

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 1    Android.” For one, Oracle did not analyze a single one of these devices. Further, Oracle’s
 2    support for the fact that the Samsung Nexus S is purportedly a Google device is a link from a
 3    web site speculating that the Nexus S is the successor to the Nexus One. Oracle ignores the fact
 4    that the device is manufactured by Samsung. Oracle also added “the Google Dev Phones” for
 5    the first time in its last supplementation without providing any further explanation as to what
 6    these devices are or what basis it has for it allegations. Therefore, each of these allegations is
 7    deficient on its face. Similarly, the allegations for the “other mobile devices” are deficient for
 8    the reasons stated herein.
 9           In its Final Patent L.R. 3-1 Contentions Oracle included an allegation of inducement
10    pursuant to 35 U.S.C. § 271(b) because Google purportedly “contracts with, instructs, and
11    otherwise induces others. . . .” (Id. at 3.) In Section D, “Indirect Infringement,” the entirety of
12    the purported inducing acts are described in vague generalities:
13           On information and belief, Google purposely and actively distributes the Accused
14           Instrumentalities to manufacturers of products and application developers with the
             intention that they be used, copied, and distributed to consumers, who in turn use them.
15           Google induces and contributes to the infringement of the asserted claims of each
             asserted patent, because Google encourages manufacturers, application developers, and
16           service providers (including the members of the Open Handset Alliance), as well as end
             users, to copy, sell, distribute, re-distribute, and use products that embody or incorporate
17           the Accused Instrumentalities.
18    (Id. at 7.) This section does not even distinguish between purported inducement and purported
19    contributory infringement. It also fails to identify inducing acts specific to each purported
20    Accused Instrumentality as Oracle identifies them in Section B. Oracle does not even allege that
21    Google “distributes,” the Accused Instrumentalities identified as “other mobile devices running
22    Android” making the first sentence of the block quote plainly incorrect. Further, Oracle fails to
23    connect any purportedly inducing act with the purported direct infringers. For example, to the
24    extent the user of “other mobile devices running Android” is purportedly a direct infringer,
25    Oracle cannot maintain an inducement allegation against Google with a third party between
26    Google and the user (Oracle’s own allegation states only that Google distributes to
27    “manufacturers of products” and “application developers”). This provision thus fails to provide
28    the requisite specificity of inducing acts for each type of Accused Instrumentality and without an

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             DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1    inducing act, Oracle cannot prevail on a claim pursuant to 35 U.S.C. § 271(b). Further, Oracle
 2    has not made an allegation or provided any evidence that Google had the requisite scienter
 3    required for a claim pursuant to 35 U.S.C. § 271(b). Oracle alleges only that Google purportedly
 4    “purposely and actively distributes the Accused Instrumentalities to manufacturers of products
 5    and application developers with the intention that they be used . . . .” (Id. at 7.) Notably this
 6    statement at best suggests a purported intent that certain instrumentalities be used, not an intent
 7    to infringe. Further, Oracle includes a single statement that Google “has actual knowledge of
 8    Oracle’s patents” (see id. at 8) at the end of the indirect infringement allegation, but this
 9    statement is deficient at least because it does not even allege Google “had” knowledge and
10    specific intent required for inducement. Further, the purported “evidence” of knowledge, such as
11    imputing the knowledge of inventors on Google is facially deficient to establish specific intent.
12           Oracle also includes an allegation of contributory infringement pursuant to
13    35 U.S.C. § 271(c). Oracle alleges only that Google purportedly “offers to sell, sells, or imports
14    part or all of the Accused Instrumentalities within or into the United States.” (Id. at 8.) This
15    statement provides no specificity as to the component that Google is accused of offering to sell,
16    which component Google is accused of selling, or which component Google is accused of
17    importing. The statement similarly fails to identify with specificity if each allegation goes to
18    “part” or “all” of a particular Accused Instrumentality. Oracle cannot prevail on a claim
19    pursuant to 35 U.S.C. § 271(c) for any Accused Instrumentalities that are downloadable source
20    files because they are not “components” within the meaning of 35 U.S.C. § 271(c). Oracle
21    cannot prevail on a claim pursuant to 35 U.S.C. § 271(c) for any Accused Instrumentalities that
22    are made available for download because they are not sold or offered for sale within the meaning
23    of 35 U.S.C. § 271(c).
24           Oracle has not demonstrated that the Accused Instrumentalities are not capable of
25    substantial non-infringing uses. Notably, Oracle provides a sole example of a discussion of the
26    “dx tool from the Android SDK,” in the context of substantial non-infringing uses, but the dx
27    tool is not even listed as an Accused Instrumentality in the preceding paragraph. For one, this
28    statement focuses on the dx tool even though the Android SDK is identified as the Accused

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 1    Instrumentality. Further, setting aside Google’s position that all uses of the dx tool are non-
 2    infringing, Oracle’s contentions are still factually incorrect as the dx tool has a myriad of
 3    substantial non-infringing uses, which are not even purported to be infringing by Oracle. The dx
 4    tool can translate Dalvik assembly language into Dalvik bytecode; it contains a .class file
 5    dumper/disassembler; it can perform partial translations of .class files; it can generate a human-
 6    readable dump of .dex files; and it provides a code annotation mode called “annotool.” This is
 7    merely an exemplary list and an example of how, if Oracle made an effort to meet its burden on
 8    this issue, Google could provide a response. Additional examples of substantial non-infringing
 9    uses were cited Google’s Answer to Oracle’s Amended Complaint (Dkt. 51) at ¶ 18 in that
10    various programming languages that can be used to create software applications. Additionally,
11    the Android NDK (http://developer.android.com/sdk/ndk/index.html) allows Android developers
12    to implement applications or parts of applications using native-code languages such as C and
13    C++. This does not use the Java programming language and therefore constitutes a substantial
14    non-infringing use of the Android platform as a whole. Finally, as presently understood, all uses
15    are noninfringing uses for the reasons cited herein.
16           Oracle also includes an allegation of a purported violation of 35 U.S.C. § 271(f) because
17    Google purportedly “supplies part or all of the Accused Instrumentalities in or from the United
18    States to foreign contractors, including HTC. . . .” (Final Patent L.R. 3-1 Contentions at 3.)
19    Oracle fails to identify with specificity which Accused Instrumentalities it is referring to and if
20    each allegation goes to “part” or “all” of a particular Accused Instrumentality. Oracle cannot
21    prevail on a claim pursuant to 35 U.S.C. § 271(f) for any Accused Instrumentalities that are
22    downloadable source files because they are not “components” within the meaning of 35 U.S.C. §
23    271(f) . See Microsoft Corp. v. AT&T Corp., 550 U.S. 437 (2007).
24           Oracle also fails to provide evidence of purported infringement by devices such as third
25    party devices, instead relying on conjecture and conclusion as to their operation as opposed to
26    investigation. Oracle’s citation in Footnote 10 of its Final Patent L.R. 3-1 Contentions
27    contradicts Oracle’s own assumptions that implementers cannot modify Android code, as the
28    cited language states that “Device implementers MAY modify the underlying implementation of

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 1    the APIs” As discussed below, Oracle relies on voluntary application level compatibility using
 2    the Android compatibility test suite (CTS) to draw incorrect and unsupported inferences about
 3    lower level functionality that Google specifically states can be modified even by third parties
 4    seeking compatibility approval. Oracle also fails to provide evidence for each of the versions of
 5    Android that Oracle purports to accuse and instead relies on representative evidence, despite
 6    having access to multiple versions that are freely available to the public via the public git
 7    repository. Perhaps the most notable flaw, however, is that Oracle made a specific, calculated
 8    decision to forego examination of actual devices. Although the CTS can be run against an
 9    emulator, as Oracle did, it is designed to test actual devices. (See
10    http://source.android.com/compatibility/cts-intro.html (“Attach at least one device (or emulator)
11    to your machine.”).) Yet Oracle inexplicably chose not to run the CTS against even a single one
12    of the exemplary devices identified in its Final Patent L.R. 3-1 Contentions as Accused
13    Instrumentalities and instead continues to rely on an unsupported assumption as to behavior of
14    actual devices.
15           Oracle’s statement that “[t]o the extent that any element or limitation of the asserted
16    claims is not found to have literal correspondence in the Accused Instrumentalities, Oracle
17    alleges, on information and belief, that any such elements or limitations are present under the
18    doctrine of equivalents in the Accused Instrumentalities” is deficient as a matter of law and, as
19    these are Oracle’s Final Patent L.R. 3-1 Contentions, Oracle is barred from raising doctrine of
20    equivalents arguments in the future. See Optimumpath LLC v. Belkin International Inc., et. al.,
21    4-09-cv-01398 (N.D. Cal., April 12, 2011, Order) (Wilken, J.) (catch-all doctrine of equivalents
22    allegation fails to comply with Patent Local Rules).
23           Oracle's Final Patent L.R. 3-1 Contentions contains an irrelevant contention purporting
24    that “Android [is] not an open platform.” As a threshold matter, this statement is plainly
25    irrelevant and immaterial to the infringement contentions as whether a platform is “open” or not
26    has no bearing on this inquiry. Further, the statement is misleading as it cites purported “recent
27    actions,” but references an “anti-fragmentation program” that has been in place for four years -
28    since 2007. Oracle further attempts to mischaracterize the delay in the release of the open source

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 1    of Honeycomb - a version of Android for tablet devices that has not been accused in the current
 2    litigation. This is a temporary delay while the Android team works to bring the Honeycomb
 3    features to mobile phones, after which the open source will be made available, consistent with
 4    Android’s open strategy. Google remains firmly committed to providing Android as an open
 5    source platform across many device types.
 6           Further, with respect to Google’s other bases for maintaining its defense that Oracle
 7    cannot establish infringement of any asserted claim, Google states the following based on
 8    Oracle’s contentions as presently understood, with reference to Oracle’s Final Patent L.R. 3-1
 9    Contentions:
10    The ‘104 Reissue Patent
11       General: For direct infringement Oracle accuses “device[s] running Android,” for apparatus
12        and system claims, “storage devices containing Android code,” for “computer program
13        product, memory, and computer-readable medium claims,” and “[a]nyone who uses a device
14        running Android code” for method claims. (See Ex. A to Oracle’s Final Patent L.R. 3-1
15        Contentions at 2.) Oracle has not provided evidence of actual operation on an actual device,
16        identification of specific storage devices, or evidence of an actual performance of the
17        method. Instead, Oracle states that 1) “Oracle has determined that Android devices execute
18        much of the code cited below every time the devices start up” and 2) “Oracle determined that
19        many of these code portions are executed even before a user can interact with a device”
20        based on analysis using the Android Compatibility Test Suite (CTS) and a “mobile device
21        emulator” included with the Android SDK. (See Ex. A at 1-2.) Oracle does not provide any
22        of the factual evidence of this analysis and the analysis does not support the conclusion that
23        Oracle draws regarding the operation of actual devices. First, even if true, executing “much”
24        of the code, and “many of the[] code portions,” cannot demonstrate infringement particularly
25        when Oracle does not provide any break down of what code or code portions it cites in its
26        claim charts are admittedly not executed based in its own analysis. Second, although a trace
27        log of the emulator may show that certain methods are called, it does not mean the CTS
28        checks for the existence of these methods, and, as such, a device could pass compatibility

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 1        testing with modifications that would result in those methods not being called. Google is
 2        continuing to perform its own analysis, which is hampered by Oracle’s failure to timely
 3        provide any factual basis and continued failure to provide the complete factual basis for its
 4        contentions and Google will supplement these responses as necessary.
 5       Claims 11, 19, 21, 22, 25, 28, 31, 34, 37, 40, and all dependent claims that depend
 6        therefrom: For these claims, Oracle has failed to identify on a claim by claim basis in
 7        Exhibit A any specific device that allegedly infringes, and has instead relied on general
 8        statements referring to unidentified “devices that run Android” or “devices that run Android
 9        and the Android SDK.” The latter statement is inconsistent with the recitation of Accused
10        Instrumentalities in the top of the Exhibit A, which does not include Android SDK. (See Ex.
11        A at 1-2.) Oracle has not made a showing of infringement because it has not identified any
12        specific alleged infringing device or purported direct infringer for these claims, and as
13        discussed above, Oracle’s reliance on the CTS and emulator as evidence of actual operation
14        of any actual device is flawed.
15       Claims 12, 13, 17-18, 20, 23-24, 26, 27, 29-30, 32-33, 35-36, 38-39, and 41, and all
16        dependent claims that depend therefrom: For these claims, Oracle has failed to identify
17        on a claim by claim basis in Exhibit A the actual performance of any allegedly infringing
18        method, and has instead relied on general statements such as “Android includes methods . .
19        .,” “devices that run Android and the Android SDK,” or “devices that store, distribute, or run
20        Android or the Android SDK, including websites, servers, and mobile devices.” The
21        statements regarding Android SDK are inconsistent with the recitation of Accused
22        Instrumentalities at the top of the Exhibit A, which does not include Android SDK. (See Ex.
23        A at 1-2.) All of these claims implicate the performance of a method and the charts in
24        Exhibit A are devoid of any example of any method being performed, thereby precluding a
25        finding of infringement. Oracle has not made a showing of infringement because it has not
26        identified any alleged infringing act or purported direct infringer for these claims and as
27        discussed above, Oracle’s reliance on the CTS and emulator as evidence of actual operation
28        of a device is flawed.

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 1       All asserted claims: As presently understood, Oracle has not made a showing of
 2        infringement at least because the material cited for element 11-b, “a processor configured to
 3        execute said instructions containing one or more symbolic references by determining a
 4        numerical reference corresponding to said symbolic reference, storing said numerical
 5        references, and obtaining data in accordance to said numerical references,” on pages 12-65 of
 6        Exhibit A does not meet the claim element even if it were implemented and used in a device
 7        in the form it is recited in Exhibit A because (1) it would not employ a numerical reference as
 8        recited in that it would not use or store a direct reference to the data itself; and/or (2) it would
 9        not employ a symbolic reference as recited in that it would not use a non-numeric reference
10        to the data. Each other independent claim in Exhibit A references a similar citation for a
11        similar element and the same basis applies to each of those claims. (See, e.g., Claim 12
12        (“See Claim 11-b, supra” in chart for “resolving a symbolic reference . . .” element).) In
13        view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer
14        necessary for Google to provide the preceding “if it were implemented” hypothetical
15        response. Because Oracle still has not provided any evidence of actual performance of a
16        method on devices, however, Google is left with only the emulator example to analyze.
17        Google believes the same reasoning applies to the emulator example and will supplement as
18        it continues its investigation.
19       All asserted claims: As presently understood, Oracle has not made a showing of
20        infringement at least because the material cited for element 11-b, “a processor configured to
21        execute said instructions containing one or more symbolic references by determining a
22        numerical reference corresponding to said symbolic reference, storing said numerical
23        references, and obtaining data in accordance to said numerical references,” on pages 12-65 of
24        Exhibit A does not meet the claim element even if it were implemented and used in a device
25        in the form it is recited in Exhibit A because it would not perform the “determining,”
26        “storing,” and “obtaining” steps as recited in that it would not perform these steps during
27        execution of the instructions. Each other independent claim in Exhibit A references a similar
28        citation for a similar element and the same basis applies to each of those claims. For

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 1        example, Claim 12 recites “interpreting said instructions” and “resolving a symbolic
 2        reference in an instruction being interpreted.” Accordingly, and as described above, the
 3        material cited in Exhibit A does not perform the “resolving” step as recited in that it would
 4        not perform this step while the instruction is being interpreted. While the other independent
 5        claims may employ different language, they require the resolving step to occur while an
 6        instruction is being executed and/or interpreted. (See, e.g., Claim 13 (“[a] computer-
 7        implemented method for executing instructions . . .”), Claim 17 (“a method for executing
 8        said program . . .”), Claim 19 (“a memory for use in executing a program . . .”), Claim 21
 9        (“such that when the program is executed by the processor each symbolic field reference is
10        resolved . . .”), Claim 24 (“determining immediately prior to execution whether a bytecode of
11        the program contains a symbolic reference”).) In view of the fact that Oracle has served its
12        Final Patent L.R. 3-1 Contentions, it is no longer necessary for Google to provide the
13        preceding “if it were implemented” hypothetical response. Because Oracle still has not
14        provided any evidence of actual performance of a method on devices, however, Google is left
15        with only the emulator example to analyze. Google believes the same reasoning applies to
16        the emulator example, and that Oracle’s allegations in its Final Patent L.R. 3-1 Contentions
17        support Google’s reasoning. More specifically, Oracle states that 1) “Oracle has determined
18        that Android devices execute much of the code cited below every time the devices start up”
19        and 2) “Oracle determined that many of these code portions are executed even before a user
20        can interact with a device.” (See Ex. A at 1-2.) These statements evidence that the steps
21        recited in these claims, if performed at all, are not performed during execution of the
22        instructions, but at some other time, such as at boot time. Regardless, Google’s investigation
23        into Oracle’s recent allegations related to the emulator is ongoing, and Google will
24        supplement as it continues its investigation.
25       All asserted claims: As presently understood, Oracle has not made a showing of
26        infringement at least because the material cited in Exhibit A relates to a hybrid compiler-
27        interpreter, which is not within the scope of the asserted claims because the patentee
28        explicitly disclaimed such claim scope during prosecution of the asserted claims.

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 1       Claims 11, 22, and 25: As presently understood, Oracle has not made a showing of
 2        infringement at least because the material cited for element 11-b, “a processor configured to
 3        execute said instructions containing one or more symbolic references by determining a
 4        numerical reference corresponding to said symbolic reference, storing said numerical
 5        references, and obtaining data in accordance to said numerical references,” on pages 12-65 of
 6        Exhibit A does not meet the claim element even if it were implemented and used in a device
 7        in the form it is recited in Exhibit A because it would not employ a processor configured to
 8        execute an instruction as recited in that the listed devices do not have processors for
 9        executing intermediate form object code. Independent claims 22 and 25 in Exhibit A
10        reference a similar citation for a similar element and the same basis applies to each of those
11        claims. (See, e.g., Claim 22 (“See Claim 11-b, supra” in chart for “a processor configured to
12        execute the instruction . . .” element); Claim 25 (“See Claim 11, supra” in chart for
13        “instructions for causing the processor to . . . execute thereafter the bytecode . . .” element).)
14        In view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer
15        necessary for Google to provide the preceding “if it were implemented” hypothetical
16        response. Because Oracle still has not provided any evidence of actual performance of a
17        method on devices, however, Google is left with only the emulator example to analyze.
18        Google believes the same reasoning applies to the emulator example and will supplement as
19        it continues its investigation.
20       Claims 12-21, 23-32, and 36-41: As presently understood, Oracle has not made a showing
21        of infringement at least because the material cited for the “resolving a symbolic reference in
22        an instruction being interpreted, said step of resolving said symbolic reference including the
23        substeps of” element on page 69 of Exhibit A—which is simply a reference to the materials
24        cited for element 11-b at pages 12-65—does not meet the claim element even if it were
25        implemented and used in a device in the form it is recited in Exhibit A because it would not
26        employ resolving in that it would not rewrite the instruction with the numeric reference.
27        Each other independent claim listed references a similar citation for similar claim elements
28        and the same basis applies to each of those claims. (See, e.g., Claim 13 “See Claim 11-b,

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 1        supra” in chart for “resolving a symbolic reference . . .” element).) In view of the fact that
 2        Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer necessary for Google
 3        to provide the preceding “if it were implemented” hypothetical response. Because Oracle
 4        still has not provided any evidence of actual performance of a method on devices, however,
 5        Google is left with only the emulator example to analyze. Google believes the same
 6        reasoning applies to the emulator example and will supplement as it continues its
 7        investigation.
 8       Claims 24-26, 30-32, 36-38: As presently understood, Oracle has not made a showing of
 9        infringement at least because the material cited for the “when it is determined that the
10        bytecode of the program contains a symbolic data reference, invoking a dynamic field
11        reference routine to resolve the symbolic data reference” element on page 79 of Exhibit A—
12        which is simply a reference to the materials cited for element 11-b at pages 12-65—does not
13        meet the claim element even if it were implemented and used in a device in the form it is
14        recited in Exhibit A because it would not employ a dynamic field reference routine in that it
15        would not (1) rewrite the symbolic reference in the in bytecode with a numeric reference,
16        and/or (2) execute the bytecode with the numeric reference prior to advancing to the next
17        instruction. Each other independent claim listed references a similar citation for similar
18        claim elements and the same basis applies to each of those claims. (See, e.g., Claim 25
19        (“See Claim 11, supra” in chart for “a memory comprising a program . . .” element).) In
20        view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer
21        necessary for Google to provide the preceding “if it were implemented” hypothetical
22        response. Because Oracle still has not provided any evidence of actual performance of a
23        method on devices, however, Google is left with only the emulator example to analyze.
24        Google believes the same reasoning applies to the emulator example and will supplement as
25        it continues its investigation.
26       Claims 27-29: As presently understood, Oracle has not made a showing of infringement at
27        least because the material cited for the “generating a set of new instructions for the program
28        that contain numeric references resulting from invocation of a routine to resolve any

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 1        symbolic data references in the set of original instructions” element on page 83 of Exhibit
 2        A—which is simply a reference to the materials cited for element 11-b at pages 12-65—does
 3        not meet the claim element even if it were implemented and used in a device in the form it is
 4        recited in Exhibit A because it would not employ generating a set of new instructions that
 5        contain numeric references as recited. Each other independent claim listed references a
 6        similar citation for similar claim elements and the same basis applies to each of those claims.
 7        (See, e.g., Claim 28 (“See Claim 11, supra” in chart for “a memory comprising a control
 8        program . . .” element).) In view of the fact that Oracle has served its Final Patent L.R. 3-1
 9        Contentions, it is no longer necessary for Google to provide the preceding “if it were
10        implemented” hypothetical response. Because Oracle still has not provided any evidence of
11        actual performance of a method on devices, however, Google is left with only the emulator
12        example to analyze. Google believes the same reasoning applies to the emulator example
13        and will supplement as it continues its investigation.
14       Claims 30-32: As presently understood, Oracle has not made a showing of infringement at
15        least because the material cited for the “replacing each instruction in the program with a
16        symbolic data reference with a new instruction containing a numeric reference resulting from
17        invocation of a dynamic field reference routine to resolve the symbolic data reference”
18        element on page 85 of Exhibit A—which is simply a reference to the materials cited for
19        Claim 11 at pages 1-65—does not meet the claim element even if it were implemented and
20        used in a device in the form it is recited in Exhibit A because it would not replace
21        instructions in the program as recited. Each other independent claim listed references a
22        similar citation for similar claim elements and the same basis applies to each of those claims.
23        (See., e.g., Claim 31 (“See Claim 11, supra” in chart for “a memory comprising a control
24        program for causing the processor to . . . replace each instruction in the program with a
25        symbolic data reference . . .” element).) In particular, the identified DEX optimization does
26        not replace any instructions at run-time in the matter required by the claims, to the extent that
27        any replacement of instructions may occur. In view of the fact that Oracle has served its
28        Final Patent L.R. 3-1 Contentions, it is no longer necessary for Google to provide the

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 1        preceding “if it were implemented” hypothetical response. Because Oracle still has not
 2        provided any evidence of actual performance of a method on devices, however, Google is left
 3        with only the emulator example to analyze. Google believes the same reasoning applies to
 4        the emulator example and will supplement as it continues its investigation.
 5       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
 6        infringement attributable to Google through inducement or contributory infringement.
 7        Further, uses such as the Android NDK are substantial non-infringing uses as they do not
 8        implicate the accused subject matter cited in Oracle’s charts. Oracle has not demonstrated
 9        that the code identified is actually used to perform a method by any direct infringer, thereby
10        precluding indirect infringement. Further, Oracle has not demonstrated that Google had
11        specific knowledge of this patent sufficient for either inducement or contributory
12        infringement. Oracle’s claims of indirect and contributory infringement also fail for reasons
13        cited above under the General Allegations heading.
14       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
15        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
16        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
17    The ‘205 Patent
18       General: For direct infringement Oracle accuses “device[s] running Android,” for apparatus
19        claims, and “[a]nyone who uses a device running Android” for method claims. (See Ex. B-1
20        to Oracle’s Final Patent L.R. 3-1 Contentions at 1; Ex. B-2 at 2.)
21       All Asserted Claims: For these claims, Oracle has not provided evidence of actual
22        operation on an actual device or evidence of an actual performance of the method. Instead,
23        Oracle states that 1) “versions of Android . . . have the Jit.c code activated by default” (Ex.
24        B-1 at 1), or 2) “Oracle has determined that Android devices execute much of the code cited
25        below every time the devices start up” and 3) “Oracle determined that many of these code
26        portions are executed even before a user can interact with a device” (Ex. B-2 at 1-2), the
27        latter two statements are based on analysis using the Android Compatibility Test Suite (CTS)
28        and a “mobile device emulator” included with the Android SDK. Oracle does not provide

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 1        any of the factual evidence of this analysis and the analysis does not support the conclusion
 2        that Oracle draws regarding the operation of actual devices. With respect to Jit.c, whether or
 3        not it is activated by default does not establish how third parties use it and does not amount to
 4        proof of the use in any device. With respect to Ex. B-2, even if true, executing “much” of the
 5        code, and “many of the[] code portions,” cannot demonstrate infringement particularly when
 6        Oracle does not provide any break down of what code or code portions it cites in its claim
 7        charts are admittedly not executed based in its own analysis. Second, although a trace log of
 8        the emulator may show that certain methods are called, it does not mean the CTS checks for
 9        the existence of these methods, and, as such, a device could pass compatibility testing with
10        modifications that would result in those methods not being called. Google is continuing to
11        perform its own analysis, which is hampered by Oracle’s failure to timely provide any factual
12        basis and continued failure to provide the complete factual basis for its contentions and
13        Google will supplement these responses as necessary.
14       Claims 1-4: As presently understood, Oracle has not made a showing of infringement, even
15        if the materials cited in Exhibits B-1 or B-2 were implemented and used in a device in the
16        form recited at least because:
17               o It would not employ a method in a computer system where a virtual machine
18                   instruction was generated at runtime because a virtual machine instruction (“[a]
19                   machine instruction for a software emulated microprocessor or computer
20                   architecture (also called virtual code)”) is never generated in the functionality
21                   identified in Ex. B-1, and the functionality identified in Ex. B-2 is not
22                   implemented at runtime.
23               o It would not employ a method in a computer system where a virtual machine
24                   instruction represents or references one or more native instructions because no
25                   new virtual machine instruction represents or references one or more native
26                   instructions (“[a] machine instruction that is designed for a specific
27                   microprocessor or computer architecture (also called native code)”). (See Exs. B-
28                   1 and B-2.)

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 1               o It would not employ a method in a computer system where a new virtual machine
 2                   instruction was executed instead of a first virtual machine instruction, because a
 3                   new virtual machine instruction is not generated in the functionality identified in
 4                   Ex. B-1 and a new virtual machine instruction is not executed in the functionality
 5                   identified in Ex. B-2.
 6       In view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer
 7       necessary for Google to provide the preceding “if it were implemented” hypothetical
 8       response. Because Oracle still has not provided any evidence of actual performance of a
 9       method on devices, however, Google is left with only the emulator example to analyze.
10       Google believes the same reasoning applies to the emulator example and will supplement as
11       it continues its investigation.
12      Claim 8: As presently understood, Oracle has not made a showing of infringement, even if
13       the materials cited in Exhibits B-1 or B-2 were implemented and used in a device in the form
14       recited at least because:
15               o Claim 8 includes claim elements similar to those in claim 1 and, to that extent, the
16                   same bases cited above apply to this claim.
17               o It would not employ a method in a computer system for compiling a portion of the
18                   function into at least one native machine instruction so that the function includes
19                   both virtual and native machine instruction because no portion of a function is
20                   compiled into a native machine instruction. (See Ex. B-2.)
21               o It would not employ a method in a computer system where at least one native
22                   machine instruction with a new virtual machine instruction is executed after the
23                   compiling of the function because a native machine instruction is not represented
24                   by a new virtual machine code. (See Ex. B-1.)
25           In view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no
26           longer necessary for Google to provide the preceding “if it were implemented”
27           hypothetical response. Because Oracle still has not provided any evidence of actual
28           performance of a method on devices, however, Google is left with only the emulator

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            DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1           example to analyze. Google believes the same reasoning applies to the emulator example
 2           and will supplement as it continues its investigation.
 3       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
 4        infringement attributable to Google through inducement or contributory infringement.
 5        Further, uses such as the Android NDK are substantial non-infringing uses as they do not
 6        implicate the accused subject matter cited in Oracle’s charts. Oracle has not demonstrated
 7        that the code identified is actually used to perform a method by any direct infringer, thereby
 8        precluding indirect infringement. Further, Oracle has not demonstrated that Google had
 9        specific knowledge of this patent sufficient for either inducement or contributory
10        infringement. Oracle’s claims of indirect and contributory infringement also fail for reasons
11        cited above under the General Allegations heading.
12       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
13        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
14        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
15    The ‘702 Patent
16       General: For direct infringement Oracle accuses “computers running the Android SDK” for
17        apparatus claims, “storage devices containing the Android SDK,” for computer-readable
18        medium claims, and “anyone who uses the Android SDK” for method claims. (See Ex. C to
19        Oracle’s Final Patent L.R. 3-1 Contentions at 1.) Oracle has not provided evidence of actual
20        operation on an actual device, identification of specific storage devices, or evidence of an
21        actual performance of the method. Instead, Oracle states that 1) “[D]evelopers must run the
22        Android dx tool to build Android applications, and generate Android bytecode and .dex files,
23        and run the Dalvik virtual machine to test them” and 2) “The Android SDK is a tool used
24        purely to build and test Android programs.” (See Ex. C at 1.) In its Final Patent L.R. 3-1
25        Contentions Oracle provides only an illustrative example in its cover document of the dx tool
26        as purportedly having no substantial non-infringing uses. For one, this statement focuses on
27        the dx tool even though the Android SDK is identified as the Accused Instrumentality.
28        Further, setting aside Google’s position that all uses of the dx tool are non-infringing,

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 1        Oracle’s contentions are still factually incorrect as the dx tool has a myriad of substantial
 2        non-infringing uses, which are not even purported to be infringing by Oracle. The dx tool
 3        can translate Dalvik assembly language into Dalvik bytecode; it contains a .class file
 4        dumper/disassembler; it can perform partial translations of .class files; it can generate a
 5        human-readable dump of.dex files; and it provides a code annotation mode called “annotool.”
 6        This is merely an exemplary list and an example of how, if Oracle made an effort to meet its
 7        burden on this issue, Google could provide a response. Oracle has changed its contention
 8        from being limited to the dx tool to being targeted to the “Android SDK including the dx
 9        tool.” Google is continuing to perform its own analysis on this change and will supplement
10        these responses as necessary.
11       Claims 1 and 7, and all dependent claims that depend therefrom: For these claims,
12        Oracle has failed to identify on a claim by claim basis in Exhibit C the actual performance of
13        any allegedly infringing method and instead relied on a general statement including “Android
14        dx tool involves a method” or “Android dx tool [performs steps].” All of these claims
15        implicate the performance of a method and the charts in Exhibit C are devoid of any example
16        of any method being performed, thereby precluding a finding of infringement. Oracle has
17        not made a showing of infringement because Oracle’s bare assertion that “developers must
18        run the Android dx tool to build Android applications,” (see Ex. C at 1) does not amount to
19        proof of an actual use that the dx tool and associated code shown in the charts has been
20        executed in the manner alleged.
21       Claims 13, and all dependent claims that depend therefrom: For these claims, Oracle
22        failed to identify on a claim by claim basis in Exhibit C any specific device that allegedly
23        infringes and instead relied on a general statement including “[a]ny device or computer
24        which can run the Android dx tool.” Oracle has not made a showing of infringement because
25        Oracle’s bare assertion that “developers must run the Android dx tool to build Android
26        applications,” (see Ex. C at 1) does not amount to proof of an actual use that the dx tool and
27        associated code shown in the charts has been executed in a device in the manner alleged.
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 1       All Asserted Claims: As presently understood, Oracle has not made a showing of
 2        infringement at least because the material cited for the “removing said duplicated elements
 3        from said plurality of class files to obtain a plurality of reduced class files” element on pages
 4        13-17 of Exhibit C does not meet the claim element even if it were implemented and used in
 5        a device in the form it is recited in Exhibit C because it would not employ a method of
 6        obtaining a plurality of reduced class files in that there would be no intermediate step of
 7        removing duplicated elements from class files to obtain a plurality of reduced class files prior
 8        to forming a multi-class file. Similarly, Oracle has not made a showing of infringement at
 9        least because the material cited for the “forming a multi-class file comprising said plurality of
10        reduced class files” element at pages 17-20 of Exhibit C does not meet the claim element
11        even if it were implemented and used in a device in the form it is recited in Exhibit C
12        because it would not employ a method of forming a multi-class file in that no multi-class file
13        would be formed from reduced class files obtained prior to forming the multi-class file. Each
14        other independent claim in Exhibit C references Oracle’s citation for claim 1 for similar
15        elements and the same basis applies to those claims. Oracle has changed is contention from
16        being limited to the dx tool to being targeted to the “Android SDK including the dx tool.”
17        Google is continuing to perform its own analysis on this change and will supplement these
18        responses as necessary.
19       All Asserted Claims: As presently understood, Oracle has not made a showing of
20        infringement at least because the material cited for “determining plurality of duplicated
21        elements in a plurality of class files” elements on pages 2–9 of Exhibit C does not meet the
22        claim element even if it were implemented and used in a device in the form it is recited in
23        Exhibit C because it would not employ a method of determining a plurality of duplicated
24        elements in a plurality of class files in that the classes cited do not determine whether a
25        duplicated element is duplicated within a single class file or across two class files or whether
26        the duplicated is one of many or the only one. Each other independent claim in Exhibit C
27        references Oracle’s citation for claim 1 for similar elements and the same basis applies to
28        those claims. Oracle has changed is contention from being limited to the dx tool to being

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 1        targeted to the “Android SDK including the dx tool.” Google is continuing to perform its
 2        own analysis on this change and will supplement these responses as necessary.
 3       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
 4        infringement attributable to Google through inducement or contributory infringement. The
 5        dx tool has substantial non-infringing uses as discussed above. Oracle has not demonstrated
 6        that the code identified is actually used to perform a method by any direct infringer, thereby
 7        precluding indirect infringement. Further, Oracle has not demonstrated that Google had
 8        specific knowledge of this patent sufficient for either inducement or contributory
 9        infringement. Oracle’s claims of indirect and contributory infringement also fail for reasons
10        cited above under the General Allegations heading.
11       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
12        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
13        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
14       The ‘447 PatentGeneral: For direct infringement Oracle accuses “device[s] running
15        Android,” for system claims, “storage devices containing Android code,” for “computer-
16        readable medium claims,” and “[a]nyone who uses a device running Android code” for
17        method claims. (See Ex. D to Oracle’s Final Patent L.R. 3-1 Contentions at 2.) Oracle has
18        not provided evidence of actual operation on an actual device, identification of specific
19        storage devices, or evidence of an actual performance of the method. Instead, Oracle states
20        that 1) “Oracle has determined that Android devices execute much of the code cited below
21        when a developer runs the Android Compatibility Test Suite (CTS)” and 2) “Oracle
22        determined that many of these code sections are executed as part of Google’s CTS testing.”
23        (See Ex. D at 1-2.) Oracle does not provide any of the factual evidence of this analysis and
24        the analysis does not support the conclusion that Oracle draws regarding the operation of
25        actual devices. First, even if true, executing “much” of the code, and “many of the[] code
26        sections,” cannot demonstrate infringement particularly when Oracle does not provide any
27        break down of what code or code portions it cites in its claim charts are admittedly not
28        executed based in its own analysis. Further, Oracle appears to now be limiting its allegation

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 1        to testing only and not alleging that any third party device runs a program that uses this
 2        functionality outside of the testing context. Google is continuing to perform its own analysis,
 3        which is hampered by Oracle’s failure to timely provide any factual basis and continued
 4        failure to provide the complete factual basis for its contentions and Google will supplement
 5        these responses as necessary. As an initial matter, however, Oracle’s statements are plainly
 6        false with respect to the Gingerbread release. Further, to the extent the CTS checks for the
 7        existence of certain files, that in and of itself does not amount to executing the functionality.
 8       Claims 1, 7, 10, and 16, and all dependent claims that depend therefrom: For these
 9        claims, Oracle has failed to identify on a claim by claim basis in Exhibit D the actual
10        performance of any allegedly infringing method and has instead relied on general statements
11        such as “Android includes methods . . .,” or “devices that store, distribute, or run Android or
12        the Android SDK, including websites, servers, and mobile devices.” All of these claims
13        implicate the performance of a method and the charts in Exhibit D are devoid of any example
14        of any method being performed, thereby precluding a finding of infringement. Oracle has
15        not made a showing of infringement because it has not identified any alleged infringing act
16        or purported direct infringer for these claims and as discussed above, Oracle’s reliance on the
17        CTS and emulator as evidence of actual operation of a device is flawed.
18       Claims 10, and 16, and all dependent claims that depend therefrom: These claims recite
19        the practice of steps in a closed rather than open manner i.e., without the benefit of inclusive
20        phrasing such as “comprising” in connection with the recitation of the steps. The material
21        cited by Oracle, even if it were implemented and used in a device in the form it is recited in
22        Exhibit D, would include steps not contained in the recited methods, thereby precluding
23        infringement of these claims. In view of the fact that Oracle has served its Final Patent L.R.
24        3-1 Contentions, it is no longer necessary for Google to provide the preceding “if it were
25        implemented” hypothetical response. Because Oracle still has not provided any evidence of
26        actual performance of a method on devices, however, Google is left with only the emulator
27        example to analyze. Google believes the same reasoning applies to the emulator example
28        and will supplement as it continues its investigation.

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 1       Claims 19, and all dependent claims that depend therefrom: For these claims, Oracle has
 2        failed to identify on a claim by claim basis in Exhibit D any specific device that allegedly
 3        infringes and has instead relied on general statements referring to “devices that run Android
 4        or the Android SDK.” Oracle has not made a showing of infringement because it has not
 5        identified any specific alleged infringing device or purported direct infringer for these claims,
 6        and as discussed above, Oracle’s reliance on the CTS and emulator as evidence of actual
 7        operation on a device is flawed.
 8       All Asserted Claims: Oracle has not made, and cannot make, a showing of infringement of
 9        any asserted claim. Oracle has not identified any evidence of direct infringement of this
10        patent, i.e., any evidence that any user performs all of the elements of any valid and
11        enforceable claim. For example, Oracle's Infringement Contentions for this patent identifies
12        the class java.lang.SecurityManager as a requisite part of the allegedly infringing behavior.
13        (See, e.g., Exhibit D at p. 12.) However, Oracle has not identified any user or application
14        program that uses SecurityManager. Google does not use SecurityManager, and is not aware
15        of any third party that uses or has ever used SecurityManager. Google further states that,
16        prior to the commencement of this litigation, Google had already implemented changes to
17        disable SecurityManager-related functionality for the Gingerbread version of Android
18        (version 2.3), which was released on December 6, 2010. In the current version of Android,
19        as of December 6, 2010, users and application programs are prevented from even installing
20        an instance of SecurityManager. See java.lang.System.setSecurityManager().
21       All Asserted Claims: For these claims, Oracle has failed to identify on a claim by claim
22        basis in Exhibit D how each claim is even capable of infringing in the absence of further
23        programming and/or configuration. All of these claims implicate the existence of “protection
24        domains” and “permissions” and the charts in Exhibit D, which only point to class
25        definitions, are devoid of any example of code written to create protection domains or
26        permissions, thereby precluding a finding of infringement. At most, the material referenced
27        in Exhibit D may provide a mechanism that would allow a programmer to write code that
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 1        may satisfy one or more elements of these claims, but such a finding would not provide
 2        evidence of infringement even under a capable of infringing analysis.
 3       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
 4        infringement attributable to Google through inducement or contributory infringement.
 5        Oracle has not demonstrated that the code identified is actually used to perform a method by
 6        any direct infringer, thereby precluding indirect infringement. Further, Oracle has not
 7        demonstrated that Google had specific knowledge of this patent sufficient for either
 8        inducement or contributory infringement. Oracle’s claims of indirect and contributory
 9        infringement also fail for reasons cited above under the General Allegations heading.
10           Oracle’s position is especially implausible given that Google does not use the identified
11        SecurityManager, and is not aware of any third party that uses or has ever used
12        SecurityManager, and prior to the commencement of this litigation, Google had already
13        implemented changes to disable SecurityManager-related functionality for the Gingerbread
14        version of Android (version 2.3), which was released on December 6, 2010 and that in the
15        current version of Android, as of December 6, 2010, users and application programs are
16        prevented from even installing an instance of SecurityManager. See
17        java.lang.System.setSecurityManager(). Rather than attempt to demonstrate that this accused
18        functionality is actually used, or indeed necessarily used, in Accused Instrumentalities,
19        Oracle has instead represented that its position is that “the statement that ‘Google does not
20        use SecurityManager’ is not true.” (March 13, 2011 Letter, Peters to Weingaertner.) The
21        letter lacks any explanation of how Google (or anyone else for that matter) allegedly uses
22        SecurityManager. As a result, Oracle cannot establish infringement as a matter of law.
23        Indeed, it appears Oracle has acquiesced and is no longer alleging that SecurityManager is
24        used as intended in any non-testing scenario and has changed it allegations to be limited to
25        “when a developer runs the Android Compatability Test Suite” and “as part of Google’s CTS
26        testing,” (see Ex. D at 1-2) although its allegations relating to the testing scenario are flawed
27        as well for the reasons stated herein. Google continues to analyze this new allegation and
28        will supplement as it continues its investigation.

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 1       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
 2        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
 3        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
 4    The ‘476 Patent
 5       General: For direct infringement Oracle accuses “device[s] running Android,” for system
 6        claims, “storage devices containing Android code,” for “computer-readable medium claims,”
 7        and “[a]nyone who uses a device running Android code” for method claims. (See Ex. E to
 8        Oracle’s Final Patent L.R. 3-1 Contentions at 2.) Oracle has not provided evidence of actual
 9        operation on an actual device, identification of specific storage devices, or evidence of an
10        actual performance of the method. Instead, Oracle states that 1) “Oracle has determined that
11        Android devices execute much of the code cited below when a developer runs the Android
12        Compatibility Test Suite (CTS)” and 2) “Oracle determined that many of these code sections
13        are executed as part of Google’s CTS testing.” (See Ex. E at 1-2.) Oracle does not provide
14        any of the factual evidence of this analysis and the analysis does not support the conclusion
15        that Oracle draws regarding the operation of actual devices. First, even if true, executing
16        “much” of the code, and “many of the[] code sections,” cannot demonstrate infringement
17        particularly when Oracle does not provide any break down of what code or code portions it
18        cites in its claim charts are admittedly not executed based in its own analysis. Further,
19        Oracle appears to now be limiting its allegation to testing only and not alleging that any third
20        party device runs a program that uses this functionality outside of the testing context. Google
21        is continuing to perform its own analysis, which is hampered by Oracle’s failure to timely
22        provide any factual basis and continued failure to provide the complete factual basis for its
23        contentions and Google will supplement these responses as necessary. As an initial matter,
24        however, Oracle’s statements are plainly false with respect to the Gingerbread release.
25        Further, to the extent the CTS checks for the existence of certain files, that in and of itself
26        does not amount to executing the functionality.
27       Claims 1, 5, 6, 10, 14, and 15, and all dependent claims that depend therefrom: For
28        these claims, Oracle has failed to identify on a claim by claim basis in Exhibit E the actual

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 1        performance of any allegedly infringing method and has instead relied on general statements
 2        such as “Android includes methods . . .,” or “devices that store, distribute, or run Android or
 3        the Android SDK, including websites, servers, and mobile devices.” All of these claims
 4        implicate the performance of a method and the charts in Exhibit E are devoid of any example
 5        of any method being performed, thereby precluding a finding of infringement. Oracle has
 6        not made a showing of infringement because it has not identified any alleged infringing act
 7        or purported direct infringer for these claims and as discussed above, Oracle’s reliance on the
 8        CTS and emulator as evidence of actual operation of a device is flawed.
 9       Claims 10, 14, and 15, and all dependent claims that depend therefrom: These claims
10        recite the practice of steps in a closed rather than open manner, i.e., without the benefit of
11        inclusive phrasing such as “comprising” in connection with the recitation of the steps. The
12        material cited by Oracle, even if it were implemented and used in a device in the form it is
13        recited in Exhibit D, would include steps not contained in the recited methods, thereby
14        precluding infringement of these claims. In view of the fact that Oracle has served its Final
15        Patent L.R. 3-1 Contentions, it is no longer necessary for Google to provide the preceding “if
16        it were implemented” hypothetical response. Because Oracle still has not provided any
17        evidence of actual performance of a method on devices, however, Google is left with only
18        the emulator example to analyze. Google believes the same reasoning applies to the
19        emulator example and will supplement as it continues its investigation.
20       Claims 19, and all dependent claims that depend therefrom: For these claims, Oracle
21        has failed to identify on a claim by claim basis in Exhibit E any specific device that allegedly
22        infringes and has instead relied on a reference to claim 1 which contains a general statement
23        that “Android includes methods. . . .” Oracle has not made a showing of infringement
24        because it has not identified any specific alleged infringing device or purported direct
25        infringer for these claims, and as discussed above, Oracle’s reliance on the CTS and emulator
26        as evidence of actual operation of a device is flawed.
27       All Asserted Claims: Oracle has not made, and cannot make, a showing of infringement of
28        any asserted claim. Oracle has not identified any evidence of direct infringement of this

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 1        patent, i.e., any evidence that any user performs all of the elements of any valid and
 2        enforceable claim. For example, Oracle's Infringement Contentions for this patent identifies
 3        the class java.lang.SecurityManager as a requisite part of the allegedly infringing behavior.
 4        See, e.g., Exhibit E at p. 13. However, Oracle has not identified any user or application
 5        program that uses SecurityManager. Google does not use SecurityManager, and is not aware
 6        of any third party that uses or has ever used SecurityManager. Google further states that,
 7        prior to the commencement of this litigation, Google had already implemented changes to
 8        disable SecurityManager-related functionality for the Gingerbread version of Android
 9        (version 2.3), which was released on December 6, 2010. In the current version of Android,
10        as of December 6, 2010, users and application programs are prevented from even installing
11        an instance of SecurityManager. See java.lang.System.setSecurityManager().
12       All Asserted Claims: For these claims, Oracle has failed to identify on a claim by claim
13        basis in Exhibit E how each claim is even capable of infringing in the absence of further
14        programming and/or configuration. All of these claims implicate the existence of a
15        “protection domain” and “permissions” and the charts in Exhibit E, which only point to class
16        definitions, are devoid of any example of code written to create a protection domain or
17        permissions, thereby precluding a finding of infringement. At most, the material referenced
18        in Exhibit E may provide a mechanism that would allow a programmer to write code that
19        may satisfy one or more elements of these claims, but such a finding would not provide
20        evidence of infringement even under a capable of infringing analysis.
21       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
22        infringement attributable to Google through inducement or contributory infringement.
23        Oracle has not demonstrated that the code identified is actually used to perform a method by
24        any direct infringer, thereby precluding indirect infringement. Further, Oracle has not
25        demonstrated that Google had specific knowledge of this patent sufficient for either
26        inducement or contributory infringement. Oracle’s claims of indirect and contributory
27        infringement also fail for reasons cited above under the General Allegations heading.
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 1           Oracle’s position is especially implausible given that Google does not use the identified
 2        SecurityManager, and is not aware of any third party that uses or has ever used
 3        SecurityManager, and prior to the commencement of this litigation, Google had already
 4        implemented changes to disable SecurityManager-related functionality for the Gingerbread
 5        version of Android (version 2.3), which was released on December 6, 2010 and that in the
 6        current version of Android, as of December 6, 2010, users and application programs are
 7        prevented from even installing an instance of SecurityManager. See
 8        java.lang.System.setSecurityManager(). Rather than attempt to demonstrate that this accused
 9        functionality is actually used, or indeed necessarily used, in Accused Instrumentalities,
10        Oracle has instead represented that its position is that “the statement that ‘Google does not
11        use SecurityManager’ is not true.” (March 13, 2011 Letter, Peters to Weingaertner.) The
12        letter lacks any explanation of how Google (or anyone else for that matter) allegedly uses
13        SecurityManager. As a result, Oracle cannot establish infringement as a matter of law.
14        Indeed, it appears Oracle has acquiesced and is no longer alleging that SecurityManager is
15        used as intended in any non-testing scenario and has changed it allegations to be limited to
16        “when a developer runs the Android Compatability Test Suite” and “as part of Google’s CTS
17        testing,” (see Ex. E at 1-2) although its allegations relating to the testing scenario are flawed
18        as well for the reasons stated herein. Google continues to analyze this new allegation and
19        will supplement as it continues its investigation.
20       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
21        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
22        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
23    The ‘520 Patent
24       For direct infringement Oracle accuses “computers running the Android SDK” for apparatus
25        claims, “storage devices containing the Android SDK,” for computer-readable medium
26        claims, and “[a]nyone who uses the Android SDK” for method claims. (See Ex. F to
27        Oracle’s Final Patent L.R. 3-1 Contentions at 1.) Oracle has not provided evidence of actual
28        operation on an actual device, identification of specific storage devices, or evidence of an

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 1        actual performance of the method. Instead, Oracle states that 1) “[t]he Android code cited
 2        below necessarily infringes because developers must run javac and the Android dx tool to
 3        build Android applications and run the Dalvik virtual machine to test them,” 2) “the bytecode
 4        execution simulator in the dxtool will always process each <clinit> method, including those
 5        that initialize static arrays” and 3) “[t]he Android SDK is a tool used purely to build and test
 6        Android programs.” (See Ex. F at 1.) In its Final Patent L.R. 3-1 Contentions Oracle
 7        provides only an illustrative example in its cover document of the dx tool as purportedly
 8        having no substantial non-infringing uses. For one, this statement focuses on the dx tool
 9        even though the Android SDK is identified as the Accused Instrumentality. Further, setting
10        aside Google’s position that all uses of the dx tool are non-infringing, Oracle’s contentions
11        are still factually incorrect as the dx tool has a myriad of substantial non-infringing uses,
12        which are not even purported to be infringing by Oracle. The dx tool can translate Dalvik
13        assembly language into Dalvik bytecode; it contains a .class file dumper/disassembler; it can
14        perform partial translations of .class files; it can generate a human-readable dump of.dex
15        files; and it provides a code annotation mode called “annotool.” This is merely an exemplary
16        list and an example of how, if Oracle made an effort to meet its burden on this issue, Google
17        could provide a response. Although the bulk of the claim chart refers only to the dx tool,
18        Oracle has changed its allegations to purport to accuse the Android SDK. Google is
19        continuing to perform its own analysis on this change and will supplement these responses as
20        necessary.
21       Claims 1, 6, and 18, and all dependent claims that depend therefrom: For these claims,
22        Oracle has failed to identify on a claim by claim basis in Exhibit F the actual performance of
23        any allegedly infringing method and has instead relied on general statements referring to
24        “Android and its development environment . . . .” All of these claims implicate the
25        performance of a method and the charts in Exhibit F are devoid of any example of any
26        method being performed, thereby precluding a finding of infringement. Oracle has not made
27        a showing of infringement because it has not identified any allegedly infringing act or
28        purported direct infringer for these claims. Oracle’s bare assertion that “[t]he Android code

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 1        cited below necessarily infringes because developers must run javac and the Android dx tool
 2        to build Android applications and run the Dalvik virtual machine to test them,” (see Ex. F at
 3        1) does not amount to proof of an actual use that the dx tool and associated code shown in the
 4        charts has been executed in the manner alleged.
 5       Claims 12, and all dependent claims that depend therefrom: For these claims, Oracle has
 6        failed to identify on a claim by claim basis in Exhibit F any specific device that allegedly
 7        infringes and has instead relied on general statements referring to “[a]ny device or computer
 8        which can run the Android dx tool.” Oracle has not made a showing of infringement because
 9        it has not identified any specific allegedly infringing device or purported direct infringer for
10        these claims and has yet to provide them in supplemental disclosures under the Patent Local
11        Rules. Oracle’s bare assertion that “[t]he Android code cited below necessarily infringes
12        because developers must run javac and the Android dx tool to build Android applications and
13        run the Dalvik virtual machine to test them,” (see Ex. F at 1) does not amount to proof of an
14        actual use that the dx tool and associated code shown in the charts has been executed in a
15        device in the manner alleged.
16       Claim 1 and all dependent claims that depend therefrom: Oracle accuses its own javac
17        compiler as an element of its allegations for United States Patent No. 6,061,520. Further, to
18        the extent Oracle is relying on a joint infringement theory for these claims, Oracle cannot
19        establish the requisite direction or control. Upon information and belief, Google continues to
20        expect that discovery will reveal that alleged direct infringers, if specifically identified,
21        would be licensed to use that product. Until Oracle identifies on a claim by claim basis the
22        identity of alleged direct infringers performing each step of each claim and Google receives
23        complete production of Oracle’s licenses, Google cannot respond completely.
24       All Asserted Claims: As presently understood, Oracle has not made a showing of
25        infringement of claim 1 at least because the material cited for the “simulating execution of
26        the byte codes of the clinit method against a memory without executing the byte codes to
27        identify the static initialization of the array by the preloader” element at pages 9-19 of
28        Exhibit F does not meet the claim element even if it were implemented and used in a device

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 1        in the form it is recited in Exhibit F and Oracle has not made a showing of infringement of
 2        claim 6 because the material cited for the “play executing the code without running the code
 3        on the component to identify the operation if the code were run by the processing
 4        component” element at pages 39-44 of Exhibit F does not meet the claim element even if it
 5        were implemented and used in a device in the form it is recited in Exhibit F because it would
 6        not employ a method of simulating execution or play executing in that there would be no
 7        actual execution of the byte codes while identifying an array initialization instruction. The
 8        material cited for this element is a pattern matching algorithm in which bytecodes are not
 9        executed and/or in which there is no simulation of execution of the bytecodes. Each other
10        independent claim in Exhibit F references Oracle’s citation for claim 1 or claim 6 for a
11        similar element and the same basis applies to those claims. (See, e.g., Claim 12 (“See claim
12        1, supra” in chart for “play executing the clinit method . . .” element), Claim 18 (“See claim
13        6, supra” in chart for “simulating execution . . .” element).) Although the bulk of the claim
14        chart refers only to the dx tool, Oracle has changed its allegations to purport to accuse the
15        Android SDK. Google is continuing to perform its own analysis on this change and will
16        supplement these responses as necessary.
17       All Asserted Claims: As presently understood, Oracle has not made a showing of
18        infringement for any of the asserted claims at least because the material cited in Exhibit F for
19        elements requiring creating or storing an instruction to perform a particular function, e.g.,
20        Claim 1 (“storing . . . an instruction requesting the static initialization of the array), Claims 6,
21        18 (“creating an instruction for the processing component to perform the operation”), Claim
22        12 (“creating an instruction to perform the static initialization”), does not meet the claim
23        elements even if it were implemented and used in a device in the form it is recited in Exhibit
24        F because (1) it would not employ a method that creates or stores a single instruction to
25        perform each of the respective accused functions in that there are multiple instructions
26        identified in Exhibit F, and none of them alone can be used to create and initialize the recited
27        data structure with values contained in the instruction; and/or (2) it would not employ a
28        method that creates or stores a constant pool entry. Although the bulk of the claim chart

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 1        refers only to the dx tool, Oracle has changed its allegations to purport to accuse the Android
 2        SDK. Google is continuing to perform its own analysis on this change and will supplement
 3        these responses as necessary.
 4       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
 5        infringement attributable to Google through inducement or contributory infringement. The
 6        dx tool has a myriad of substantial non-infringing uses, which are not even purported to be
 7        infringing by Oracle. Oracle has not demonstrated that the code identified is actually used to
 8        perform a method by any direct infringer, thereby precluding indirect infringement. Further,
 9        Oracle has not demonstrated that Google had specific knowledge of this patent sufficient for
10        either inducement or contributory infringement. Oracle’s claims of indirect and contributory
11        infringement also fail for reasons cited above under the General Allegations heading.
12       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
13        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
14        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
15    The ‘720 Patent
16       General: For direct infringement Oracle accuses “device[s] running Android,” for system
17        claims, “storage devices containing Android code,” for computer-readable medium claims,
18        and “[a]nyone who uses a device running Android code” for method claims. (See Ex. G to
19        Oracle’s Final Patent L.R. 3-1 Contentions at 2.) Oracle has not provided evidence of actual
20        operation on an actual device, identification of specific storage devices, or evidence of an
21        actual performance of the method. Instead, Oracle states that 1) “Oracle has determined that
22        Android devices execute much of the code cited below every time the devices start up,” 2)
23        “Other cited code is invoked when a developer runs the Android Compatibility Test Suite
24        (CTS),” and 3) “Oracle determined that many of these code portions are executed even
25        before a user can interact with a device” based on analysis using the Android Compatibility
26        Test Suite (CTS) and a “mobile device emulator” included with the Android SDK. (See Ex.
27        G at 1.) Oracle does not provide any of the factual evidence of this analysis and the analysis
28        does not support the conclusion that Oracle draws regarding the operation of actual devices.

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 1        First, even if true, executing “much” of the code, and “many of the[] code portions,” cannot
 2        demonstrate infringement particularly when Oracle does not provide any break down of what
 3        code or code portions it cites in its claim charts are admittedly not executed based in its own
 4        analysis. Second, although a trace log of the emulator may show that certain methods are
 5        called, it does not mean the CTS checks for the existence of these methods, and, as such, a
 6        device could pass compatibility testing with modifications that would result in those methods
 7        not being called. Google is continuing to perform its own analysis, which is hampered by
 8        Oracle’s failure to timely provide any factual basis and continued failure to provide the
 9        complete factual basis for its contentions and Google will supplement these responses as
10        necessary.
11       Claims 1 and 20, and all dependent claims that depend therefrom: For these claims,
12        Oracle has failed to identify on a claim by claim basis in Exhibit G any specific device that
13        allegedly infringes and has instead relied on general statements referring to “[a] system
14        running Android.” Oracle has not made a showing of infringement because it has not
15        identified any specific alleged infringing device or purported direct infringer for these claims,
16        and as discussed above, Oracle’s reliance on the CTS and emulator as evidence of actual
17        operation of a device is flawed.
18       Claim 10, and all dependent claims that depend therefrom: For these claims, Oracle has
19        failed to identify on a claim by claim basis in Exhibit G the actual performance of any
20        allegedly infringing method and has instead relied on a reference to claim 1, which contains a
21        general statement “[a] system running Android . . . .” Because claim 10 is a method claim,
22        this allegation is deficient on its face. All of these claims implicate the performance of a
23        method and the charts in Exhibit G are devoid of any example of any method being
24        performed, thereby precluding a finding of infringement. Oracle has not made a showing of
25        infringement because it has not identified any alleged infringing act or purported direct
26        infringer for these claims and as discussed above, Oracle’s reliance on the CTS and emulator
27        as evidence of actual operation of a device is flawed.
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 1       All Asserted Claims: As presently understood, Oracle has not made a showing of
 2        infringement of claim 1 even if the materials cited in Exhibit G were implemented and used
 3        in a device in the form recited at least because:
 4                o The identified functionality, e.g., for element 1-c, does not dynamically identify
 5                    classes to be preloaded.
 6                o The identified functionality does not both (i) “clone the [master runtime system
 7                    process] memory space as a child runtime system process” and at the same time
 8                    also (ii) “defer copying of the memory space of the master runtime system
 9                    process.”
10                o The identified fork functionality does not clone the clone the memory space of the
11                    master runtime system process as a child runtime system process.
12        In view of the fact that Oracle has served its Final Patent L.R. 3-1 Contentions, it is no longer
13        necessary for Google to provide the preceding “if it were implemented” hypothetical
14        response. Because Oracle still has not provided any evidence of actual performance of a
15        method on devices, however, Google is left with only the emulator example to analyze.
16        Google believes the same reasoning applies to the emulator example and will supplement as
17        it continues its investigation.
18       All Asserted Claims: Oracle has not made any showing or specific allegation of indirect
19        infringement attributable to Google through inducement or contributory infringement.
20        Oracle has not demonstrated that the code identified is actually used to perform a method by
21        any direct infringer, thereby precluding indirect infringement. Further, Oracle has not
22        demonstrated that Google had specific knowledge of this patent sufficient for either
23        inducement or contributory infringement. Oracle’s claims of indirect and contributory
24        infringement also fail for reasons cited above under the General Allegations heading.
25       All Asserted Claims: Google served its Invalidity Contentions on January 18, 2011,
26        detailing its bases for the invalidity of each asserted claim of this patent. Google contends
27        that each asserted claim is invalid and therefore Google cannot infringe such a claim.
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 1    All Patents and Asserted Claims
 2       Oracle has not made any showing or any specific allegation that Google directed and
 3        controlled other parties to the extent multiple parties are required to infringe a claim. As
 4        presently understood, Oracle cannot make this showing. Because Oracle has served its Final
 5        Patent L.R. 3-1 Contentions without identifying specific examples of direct infringement,
 6        Google is left with significant ambiguity. For example, it is believed that Oracle’s
 7        allegations regarding the ‘520 patent and in particular that developers must run Oracle’s
 8        javac.exe, implicate joint infringement issues and that Oracle cannot show Google exerts
 9        direction and control over Oracle such that Google is a direct infringer as claimed by Oracle.
10

11           Google reiterates that the above contentions are being made prematurely in view of
12    Oracle’s substantive supplementation three weeks ago—which contained some substantial
13    departures from prior positions held for months—in view of inadequate disclosures by Oracle, as
14    well as in advance of any final claim construction rulings. Google reserves the right to amend
15    and supplement this response as it obtains additional information regarding Oracle’s contentions,
16    as well as after any claim construction order.
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 1    DATED: April 27, 2011                       KING & SPALDING LLP
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           DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO PLAINTIFF’S INTERROGATORIES,
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 1                                    CERTIFICATE OF SERVICE
 2           I hereby certify that on this day, April 27, 2011, I served a true and correct copy of
 3    DEFENDANT GOOGLE INC.’S FOURTH SUPPLEMENTAL RESPONSES TO
 4    PLAINTIFF’S INTERROGATORIES, SET ONE, NO. 3 via e-mail on the following
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 9    914-749-8201                                         Email: matthew.sarboraria@oracle.com
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20
      April 27, 2011.                                      /s/ Steven T. Snyder
21                                                         Steven T. Snyder
22

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      CERTIFICATE OF SERVICE                                               CIVIL ACTION NO. CV 10-03561
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                  Exhibit G




                                 1
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Download the Android NDK

The Android NDK is a companion tool to the Android SDK that lets you build performance-critical portions of your apps in
native code. It provides headers and libraries that allow you to build activities, handle user input, use hardware sensors,
access application resources, and more, when programming in C or C++. If you write native code, your applications are
still packaged into an .apk file and they still run inside of a virtual machine on the device. The fundamental Android
application model does not change.

Using native code does not result in an automatic performance increase, but always increases application complexity. If
you have not run into any limitations using the Android framework APIs, you probably do not need the NDK. Read What is
the NDK? for more information about what the NDK offers and whether it will be useful to you.

The NDK is designed for use only in conjunction with the Android SDK. If you have not already installed and setup the
Android SDK, please do so before downloading the NDK.


   Platform                 Package                              Size              MD5 Checksum

   Windows                  android-ndk-r5c-windows.zip          61627716 bytes 2c7423842fa0f46871eab118495d4b45

   Mac OS X (intel)         android-ndk-r5c-darwin-x86.tar.bz2 50714712 bytes 183bfbbd85cf8e4c0bd7531e8803e75d

   Linux 32/64-bit (x86) android-ndk-r5c-linux-x86.tar.bz2       44539890 bytes 7659dfdc97026ed1d913e224d0531f61




Revisions
The sections below provide information and notes about successive releases of the NDK, as denoted by revision number.

    Android NDK, Revision 5c (June 2011)

      This release of the NDK does not include any new features compared to r5b. The r5c release addresses the
      following problems in the r5b release:

      Important bug fixes:
                 ndk-build: Fixed a rare bug that appeared when trying to perform parallel builds of debuggable
                  projects.
                 Fixed a typo that prevented LOCAL_WHOLE_STATIC_LIBRARIES to work correctly with the new
                  toolchain and added documentation for this in docs/ANDROID-MK.html.
                 Fixed a bug where code linked against gnustl_static crashed when run on platform releases
                  older than API level 8 (Android 2.2).
                 ndk-gdb: Fixed a bug that caused a segmentation fault when debugging Android 3.0 or newer
                  devices.
                 <android/input.h>: Two functions that were introduced in API level 9 (Android 2.3) were incorrect
                  and are fixed. While this breaks the source API, the binary interface to the system is unchanged. The
                  incorrect functions were missing a history_index parameter, and the correct definitions are shown




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                below:

                    float AMotionEvent_getHistoricalRawX(const AInputEvent* motion_event,
                                                               size_t pointer_index,
                                                               size_t history_index);
                    float AMotionEvent_getHistoricalRawY(const AInputEvent* motion_event,
                                                               size_t pointer_index,
                                                               size_t history_index);

               Updated the C library ARM binary for API level 9 (Android 2.3) to correctly expose at link time new
                functions that were added in that API level (for example, pthread_rwlock_init).

     Minor improvements and fixes:
               Object files are now always linked in the order they appear in LOCAL_SRC_FILES. This was not the
                case previously because the files were grouped by source extensions instead.
               When import-module fails, it now prints the list of directories that were searched. This is useful to
                check that the NDK_MODULE_PATH definition used by the build system is correct.
               When import-module succeeds, it now prints the directory where the module was found to the log
                (visible with NDK_LOG=1).
               Increased the build speed of debuggable applications when there is a very large number of include
                directories in the project.
               ndk-gdb: Better detection of adb shell failures and improved error messages.
               <pthread.h>: Fixed the definition of PTHREAD_RWLOCK_INITIALIZER for API level 9 (Android
                2.3) and higher.
               Fixed an issue where a module could import itself, resulting in an infinite loop in GNU Make.
               Fixed a bug that caused the build to fail if LOCAL_ARM_NEON was set to true (typo in
                build/core/build-binary.mk).
               Fixed a bug that prevented the compilation of .s assembly files (.S files were okay).

   Android NDK, Revision 5b (January 2011)

     This release of the NDK does not include any new features compared to r5. The r5b release addresses the
     following problems in the r5 release:

          The r5 binaries required glibc 2.11, but the r5b binaries are generated with a special toolchain that targets
           glibc 2.7 or higher instead. The Linux toolchain binaries now run on Ubuntu 8.04 or higher.
          Fixes a compiler bug in the arm-linux-androideabi-4.4.3 toolchain. The previous binary generated invalid
           thumb instruction sequences when dealing with signed chars.
          Adds missing documentation for the "gnustl_static" value for APP_STL, that allows you to link against a
           static library version of GNU libstdc++.
          The following ndk-build issues are fixed:
               A bug that created inconsistent dependency files when a compilation error occured on Windows. This
                prevented a proper build after the error was fixed in the source code.
               A Cygwin-specific bug where using very short paths for the Android NDK installation or the project
                path led to the generation of invalid dependency files. This made incremental builds impossible.
               A typo that prevented the cpufeatures library from working correctly with the new NDK toolchain.
               Builds in Cygwin are faster by avoiding calls to cygpath -m from GNU Make for every source or
                object file, which caused problems with very large source trees. In case this doesn't work properly,
                define NDK_USE_CYGPATH=1 in your environment to use cygpath -m again.
               The Cygwin installation now notifies the user of invalid installation paths that contain spaces.
                Previously, an invalid path would output an error that complained about an incorrect version of GNU




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                Make, even if the right one was installed.
          Fixed a typo that prevented the NDK_MODULE_PATH environment variable from working properly when it
           contained multiple directories separated with a colon.
          The prebuilt-common.sh script contains fixes to check the compiler for 64-bit generated machine
           code, instead of relying on the host tag, which allows the 32-bit toolchain to rebuild properly on Snow
           Leopard. The toolchain rebuild scripts now also support using a 32-bit host toolchain.
          A missing declaration for INET_ADDRSTRLEN was added to <netinet/in.h>.
          Missing declarations for IN6_IS_ADDR_MC_NODELOCAL and IN6_IS_ADDR_MC_GLOBAL were added to
           <netinet/in6.h>.
          'asm' was replaced with '__asm__' in <asm/byteorder.h> to allow compilation with -std=c99.

   Android NDK, Revision 5 (December 2010)

     This release of the NDK includes many new APIs, most of which are introduced to support the development of
     games and similar applications that make extensive use of native code. Using the APIs, developers have direct
     native access to events, audio, graphics and window management, assets, and storage. Developers can also
     implement the Android application lifecycle in native code with help from the new NativeActivity class. For
     detailed information describing the changes in this release, read the CHANGES.HTML document included in the
     downloaded NDK package.

     General notes:
               Adds support for native activities, which allows you to implement the Android application lifecycle in
                native code.
               Adds native support for the following:
                    Input subsystem (such as the keyboard and touch screen)
                    Access to sensor data (accelerometer, compass, gyroscope, etc).
                    Event loop APIs to wait for things such as input and sensor events.
                    Window and surface subsystem
                    Audio APIs based on the OpenSL ES standard that support playback and recording as well as
                     control over platform audio effects
                    Access to assets packaged in an .apk file.
               Includes a new toolchain (based on GCC 4.4.3), which generates better code, and can also now be
                used as a standalone cross-compiler, for people who want to build their stuff with ./configure &&
                make. See docs/STANDALONE-TOOLCHAIN.html for the details. The binaries for GCC 4.4.0 are still
                provided, but the 4.2.1 binaries were removed.
               Adds support for prebuilt static and shared libraries (docs/PREBUILTS.html) and module exports and
                imports to make sharing and reuse of third-party modules much easier (docs/IMPORT-MODULE.html
                explains why).
               Provides a default C++ STL implementation (based on STLport) as a helper module. It can be used
                either as a static or shared library (details and usage examples are in
                sources/android/stlport/README). Prebuilt binaries for STLport (static or shared) and GNU libstdc++
                (static only) are also provided if you choose to compile against those libraries instead of the default
                C++ STL implementation. C++ Exceptions and RTTI are not supported in the default STL
                implementation. For more information, see docs/CPLUSPLUS-SUPPORT.HTML.
               Includes improvements to the cpufeatures helper library that improves reporting of the CPU type
                (some devices previously reported ARMv7 CPU when the device really was an ARMv6). We
                recommend developers that use this library to rebuild their applications then upload to Market to
                benefit from the improvements.
               Adds an EGL library that lets you create and manage OpenGL ES textures and services.




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             Adds new sample applications, native-plasma and native-activity, to demonstrate how to
              write a native activity.
             Includes many bugfixes and other small improvements; see docs/CHANGES.html for a more detailed
              list of changes.

   Android NDK, Revision 4b (June 2010)

     NDK r4b notes:

         Includes fixes for several issues in the NDK build and debugging scripts — if you are using NDK r4, we
         recommend downloading the NDK r4b build. For detailed information describing the changes in this
         release, read the CHANGES.TXT document included in the downloaded NDK package.

     General notes:
             Provides a simplified build system through the new ndk-build build command.
             Adds support for easy native debugging of generated machine code on production devices through
              the new ndk-gdb command.
             Adds a new Android-specific ABI for ARM-based CPU architectures, armeabi-v7a. The new ABI
              extends the existing armeabi ABI to include these CPU instruction set extensions:
                  Thumb-2 instructions
                  VFP hardware FPU instructions (VFPv3-D16)
                  Optional support for ARM Advanced SIMD (NEON) GCC intrinsics and VFPv3-D32. Supported
                   by devices such as Verizon Droid by Motorola, Google Nexus One, and others.
             Adds a new cpufeatures static library (with sources) that lets your app detect the host device's
              CPU features at runtime. Specifically, applications can check for ARMv7-A support, as well as VFPv3-
              D32 and NEON support, then provide separate code paths as needed.
             Adds a sample application, hello-neon, that illustrates how to use the cpufeatures library to
              check CPU features and then provide an optimized code path using NEON instrinsics, if supported by
              the CPU.
             Lets you generate machine code for either or both of the instruction sets supported by the NDK. For
              example, you can build for both ARMv5 and ARMv7-A architectures at the same time and have
              everything stored to your application's final .apk.
             To ensure that your applications are available to users only if their devices are capable of running
              them, Android Market now filters applications based on the instruction set information included in your
              application — no action is needed on your part to enable the filtering. Additionally, the Android system
              itself also checks your application at install time and allows the installation to continue only if the
              application provides a library that is compiled for the device's CPU architecture.
             Adds support for Android 2.2, including a new stable API for accessing the pixel buffers of Bitmap
              objects from native code.

   Android NDK, Revision 3 (March 2010)

     General notes:
             Adds OpenGL ES 2.0 native library support.
             Adds a sample application,hello-gl2, that illustrates the use of OpenGL ES 2.0 vertex and
              fragment shaders.
             The toolchain binaries have been refreshed for this release with GCC 4.4.0, which should generate
              slightly more compact and efficient machine code than the previous one (4.2.1). The NDK also still
              provides the 4.2.1 binaries, which you can optionally use to build your machine code.

   Android NDK, Revision 2 (September 2009)




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      Originally released as "Android 1.6 NDK, Release 1".

      General notes:
                Adds OpenGL ES 1.1 native library support.
                Adds a sample application, san-angeles, that renders 3D graphics through the native OpenGL ES
                 APIs, while managing activity lifecycle with a GLSurfaceView object.

    Android NDK, Revision 1 (June 2009)

      Originally released as "Android 1.5 NDK, Release 1".

      General notes:
                Includes compiler support (GCC) for ARMv5TE instructions, including Thumb-1 instructions.
                Includes system headers for stable native APIs, documentation, and sample applications.




Installing the NDK
Installing the NDK on your development computer is straightforward and involves extracting the NDK from its download
package.

Before you get started make sure that you have downloaded the latest Android SDK and upgraded your applications and
environment as needed. The NDK is compatible with older platform versions but not older versions of the SDK tools. Also,
take a moment to review the System and Software Requirements for the NDK, if you haven't already.

To install the NDK, follow these steps:

1. From the table at the top of this page, select the NDK package that is appropriate for your development computer and
   download the package.
2. Uncompress the NDK download package using tools available on your computer. When uncompressed, the NDK files
   are contained in a directory called android-ndk-<version>. You can rename the NDK directory if necessary and
   you can move it to any location on your computer. This documentation refers to the NDK directory as <ndk>.

You are now ready to start working with the NDK.




Getting Started with the NDK
Once you've installed the NDK successfully, take a few minutes to read the documentation included in the NDK. You can
find the documentation in the <ndk>/docs/ directory. In particular, please read the OVERVIEW.HTML document
completely, so that you understand the intent of the NDK and how to use it.

If you used a previous version of the NDK, take a moment to review the list of NDK changes in the CHANGES.HTML
document.

Here's the general outline of how you work with the NDK tools:

1. Place your native sources under <project>/jni/...
2. Create <project>/jni/Android.mk to describe your native sources to the NDK build system
3. Optional: Create <project>/jni/Application.mk.
4. Build your native code by running the 'ndk-build' script from your project's directory. It is located in the top-level NDK




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     directory:

          cd <project>
          <ndk>/ndk-build

     The build tools copy the stripped, shared libraries needed by your application to the proper location in the
     application's project directory.
5. Finally, compile your application using the SDK tools in the usual way. The SDK build tools will package the shared
   libraries in the application's deployable .apk file.

For complete information on all of the steps listed above, please see the documentation included with the NDK package.




Sample Applications
The NDK includes sample Android applications that illustrate how to use native code in your Android applications. For
more information, see Sample Applications.




Discussion Forum and Mailing List
If you have questions about the NDK or would like to read or contribute to discussions about it, please visit the android-
ndk group and mailing list.

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                  Exhibit K




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